    Number of calls
                             Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 1 of 37
                                                       call log master


            A          B          C        D         E           F              G      H      I      J      K          L
3 Count of Calls
4                     2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
5                      Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
6 BALTIMORE MD
7 410‐244‐4097         0          0        0         0           0              0      1      0      0      0         1
8 410‐545‐2155         0          0        0         0           0              1      0      0      1      0         2
9 410‐783‐1024         0          0        0         0           0              0      0      0      1      0         1
10 BUFFALO NY
11 716‐462‐3656        0          0        0         0           0              0      0      0      1      0         1
12 716‐839‐8711        0          0        0         0           0              0      0      0      1      0         1
13 716‐842‐5138        0          0        0         0           0              3      3      0      0      0         6
14 716‐842‐5139        0          0        0         0           0              0      1      0      0      0         1
15 716‐842‐5385        0          0        0         0           0              0      1      0      0      0         1
16 716‐842‐5390        0          0        0         0           0              0      4      0      0      0         4
17 HACKENSACK NJ
18 201‐368‐4515        0          0        0         0           0              0      2      0      0      0         2
19 INCOMING CL
20 240‐393‐2179        0          1        0         0           0              0      0      0      0      0         1
21 240‐557‐1797        0          0        0         2           0              0      0      0      0      0         2
22 240‐681‐6085        0          0        0         0           1              0      0      0      0      0         1
23 410‐266‐7170        0          1        0         0           0              0      0      0      1      0         2
24 410‐266‐7172        0          0        1         0           0              0      0      0      0      0         1
25 410‐323‐9322        0          0        0         0           1              0      0      0      0      0         1
26 410‐397‐5778        0          0        0         1           0              0      0      0      0      0         1
27 410‐545‐2156        0          0        0         0           0              1      0      0      0      0         1
28 410‐555‐5458        0          0        1         0           0              0      0      0      0      0         1
29 410‐583‐2723        0          0        0         0           1              0      0      0      1      1         3
30 410‐586‐1081        0          0        0         0           1              0      0      0      0      0         1
31 410‐647‐8771        0          0        0         0           0              0      0      0      1      0         1
32 410‐650‐6855        0          0        1         0           0              0      0      0      0      0         1
33 410‐709‐4461        0          0        0         0           0              1      0      0      0      0         1
34 410‐761‐1700        0          0        0         0           0              0      0      0      1      0         1
35 410‐826‐4312        0          0        0         1           0              0      0      0      0      0         1
36 410‐834‐8793        0          0        0         0           0              0      0      0      1      0         1
37 410‐858‐3029        0          1        0         0           0              0      0      0      0      0         1
38 410‐858‐7993        1          0        0         0           0              0      0      0      0      0         1
39 410‐862‐8707        0          1        0         0           0              0      0      0      0      0         1
40 410‐865‐0058        0          0        0         0           0              0      0      0      1      0         1
41 410‐873‐9045        0          0        0         0           0              0      0      0      1      0         1


                                                          masterpivotall (3)                                               Page 1
                          Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 2 of 37
                                                    call log master


            A       B          C        D         E           F              G      H      I      J      K          L
3 Count of Calls
4                  2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
5                   Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
42 410‐882‐1579      0          0        0        1           0              0       0      0     0       0         1
43 410‐888‐3793      0          0        1        0           0              0       0      0     0       0         1
44 410‐888‐3808      1          0        0        0           0              0       0      0     0       0         1
45 410‐907‐0618      1          0        0        0            0             0       0      0     0       0         1
46 410‐952‐8077      0          0        0        0            0             0       0      1     0       0         1
47 410‐975‐9534      0          0        0        0            0             0       0      0     1       0         1
48 417‐832‐2589      0          0        0        0            0             0       1      0     0       0         1
49 443‐928‐0884      0          1        0        0            0             1       0      0     0       0         2
50 480‐225‐9846      0          0        0        0            0             0       0      1     0       0         1
51 512‐427‐9057      0          0        0        0            1             0       0      0     0       0         1
52 516‐404‐6277      0          0        1        0            0             0       0      0     0       0         1
53 603‐402‐5045      0          1        0        0            0              0      0      0     0       0         1
54 610‐212‐1650      0          0        0        1            0              0      0      0     0       0         1
55 617‐453‐4494      0          0        0        0            0              0      1      0     0       0         1
56 646‐287‐2350      1          0        0        0            0              0      0      0     0       0         1
57 646‐469‐2229      0          1        0        0            0              0      0      0     0       0         1
58 646‐759‐4567      0          0        0        0           0              0       1      0     0       0         1
59 650‐489‐9958      0          0        0        0           0              0       0      0     1       0         1
60 650‐560‐7687      0          1        0        0           0              0       0      0     0       0         1
61 667‐249‐5742      0          0        0        0           0              0       1      0     0       0         1
62 667‐402‐1310      0          0        0        0            0             1       0      0     0       0         1
63 704‐247‐5913      0          0        0        0            0             0       0      0     0       3         3
64 714‐707‐3260      0          0        0        0            0             0       0      1     0       0         1
65 716‐462‐3656      0          0        0        0            0             0       0      0     2       0         2
66 716‐635‐4520      0          0        0        0            0             0       0      1     0       0         1
67 718‐404‐5960      0          0        0        1            0             0       0      0     0       0         1
68 726‐245‐6264      0          0        0        1            0             0       0      0     0       0         1
69 816‐800‐1875      2          0        0        2            0             4       3      0     0       0        11
70 844‐244‐6843      0          0        0        1            0              1      1      0     2       1         6
71 855‐464‐9707      0          0        0        0            0              0      0      1     0       0         1
72 866‐724‐8527      0          0        0        0            0              0      0      0     1       0         1
73 877‐329‐2645      0          0        0        0            0              0      0      0     1       0         1
74 877‐724‐4219      0          0        0        0            0              0      0      0     0       1         1
75 917‐628‐1555      0          0        2        1           1              0       0      0     0       0         4
76 NEW YORK NY
77 212‐318‐2000     0          2        0         0           2              0      0      0      0      0         4


                                                       masterpivotall (3)                                               Page 2
                           Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 3 of 37
                                                     call log master


               A     B          C        D         E           F              G      H      I      J      K          L
 3 Count of Calls
 4                  2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
 5                   Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
 78 646‐287‐2350      0          1        0        0           0              0       0      0     0       0        1
 79 646‐643‐5008      0          0        1        0           0              0       0      0     0       0        1
 80 646‐689‐3097      0          0        1        0           0              0       0      0     0       0        1
 81 917‐628‐1555      0          0        1        0            0             1       0      0     0       0        2
 82 917‐913‐7347      0          0        1        0            0             0       0      0     0       0        1
 83 NORRISTOWN PA
 84 610‐212‐1650     0          0        0         1           0              0      0      0      0      0         1
 85 ORANGE NJ
 86 862‐252‐0118     0          0        1         0           0              0      0      0      0      0         1
 87 SANTA ANA CA
 88 714‐830‐3351     0          0        0         0           0              0      0      0      1      0         1
 89 SEVERNAPRK MD
 90 410‐544‐0351     0          0        1         0           0              0      0      0      0      0         1
 91 SNFC CNTRL CA
 92 415‐738‐2935     0          0        0         0           0              0      8      7      5      0         20
 93 Toll Free CL
 94 800‐343‐3548     0          0        0         0           0              0      0      0      0      1          1
 95 800‐397‐3742     0          0        0         0           0              0      0      0      1      0          1
 96 800‐568‐7625     0          0        0         0           0              0      2      0      0      0          2
 97 800‐724‐2440     1          0        0         0           0              2      1      2      0      0          6
 98 800‐724‐2525     0          0        0         0           0              3      0      0      0      0          3
 99 800‐724‐4411     1          0        0         0           0              0      0      0      0      0          1
100 800‐724‐8644     0          0        0         0           0              0      5      3      9      0         17
101 800‐730‐0126     0          0        0         0           0              0      0      0      1      0          1
102 800‐790‐9130     1          0        0         0           0              3      0      0      0      0          4
103 800‐916‐8800     0          0        0         0           0              0      0      1      1      0          2
104 800‐934‐6489     0          1        0         0           0              0      0      0      0      0          1
105 833‐806‐1627     0          0        0         0           0              0      0      0      1      0          1
106 855‐242‐9918     0          1        0         0           0              0      0      0      0      0          1
107 855‐411‐2372     0          0        0         0           0              0      0      1      0      0          1
108 855‐414‐6047     0          0        0         0           0              0      1      1      0      0          2
109 855‐414‐6048     0          0        0         0           0              0      2      1      0      0          3
110 855‐432‐8475     0          0        0         0           0              0      1      0      0      0          1
111 855‐435‐1153     0          0        0         0           0              1      0      0      0      0          1
112 855‐755‐2787     0          0        0         0           1              0      0      0      0      0          1
113 866‐279‐0888     0          0        0         0           0              3      1      4      2      0         10


                                                        masterpivotall (3)                                               Page 3
                           Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 4 of 37
                                                     call log master


             A       B          C        D         E           F              G      H      I      J      K          L
 3 Count of Calls
 4                  2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
 5                   Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
114 866‐349‐5186      0          0        0        0           0              0       0      1     0       0        1
115 866‐349‐5191      0          0        0        0           0              0       0      0     1       0        1
116 866‐352‐3799      2          0        0        0           0              0       0      0     0       0        2
117 866‐466‐0979      0          0        0        0            0             0       0      0     1       0        1
118 866‐617‐1894      0          0        0        0            0             0       0      1     0       0        1
119 866‐640‐2273      0          0        0        0            0             0       0      0     2       0        2
120 877‐327‐2529      0          0        0        0            0             0       0      1     0       0        1
121 888‐434‐0055      0          0        0        0            0             0       0      0     1       0        1
122 888‐548‐7878      0          0        0        0            0             0       0      0     1       0        1
123 888‐613‐8874      0          0        0        0            0             0       0      0     0       1        1
124 888‐678‐3688      0          0        0        0            1             0       0      0     0       0        1
125 TOWSON MD
126 410‐583‐2723     0          0        0         0           0              0      0      0      1      0         1
127 WASHINGTON DC
128 202‐224‐4654     0          0        0         0           0              0      0      0      1      0         1
129 WILLIAMSVL NY
130 716‐635‐4000     0          0        0         0           0              0      1      0      0      0          1
131 716‐635‐4517     0          0        0         0           0              0      5      1      0      0          6
132 716‐635‐4520     0          0        0         0           0              0      0     30      0      0         30
133
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                                                        masterpivotall (3)                                               Page 4
sum of minutes            Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 5 of 37
                                                    call log master


           A        B          C        D         E            F             G      H      I      J      K          L
3 Sum of Min
4                  2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
5                   Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
6 BALTIMORE MD
7 410‐244‐4097      0          0        0         0           0              0      1      0      0      0          1
8 410‐545‐2155      0          0        0         0           0             13      0      0      2      0         15
9 410‐783‐1024      0          0        0         0           0              0      0      0      1      0          1
10 BUFFALO NY
11 716‐462‐3656     0          0        0         0           0              0      0      0      1      0          1
12 716‐839‐8711     0          0        0         0           0              0      0      0      1      0          1
13 716‐842‐5138     0          0        0         0           0              3      3      0      0      0          6
14 716‐842‐5139     0          0        0         0           0              0      1      0      0      0          1
15 716‐842‐5385     0          0        0         0           0              0      1      0      0      0          1
16 716‐842‐5390     0          0        0         0           0              0     95      0      0      0         95
17 HACKENSACK NJ
18 201‐368‐4515     0          0        0         0           0              0      2      0      0      0         2
19 INCOMING CL
20 240‐393‐2179     0          14       0         0           0              0      0      0      0      0         14
21 240‐557‐1797     0           0       0         2           0              0      0      0      0      0          2
22 240‐681‐6085     0           0       0         0           1              0      0      0      0      0          1
23 410‐266‐7170     0          2        0         0           0              0      0      0      1      0          3
24 410‐266‐7172     0          0        3         0           0              0      0      0     0       0          3
25 410‐323‐9322     0          0        0         0           1              0      0      0     0       0          1
26 410‐397‐5778     0          0        0         1           0              0      0      0     0       0          1
27 410‐545‐2156     0          0        0         0           0             17      0      0     0       0         17
28 410‐555‐5458     0          0        1         0           0              0      0      0     0       0          1
29 410‐583‐2723     0          0        0         0           1             0       0      0     2       1          4
30 410‐586‐1081     0           0       0         0           1              0      0      0      0      0          1
31 410‐647‐8771     0           0       0         0           0              0      0      0      1      0          1
32 410‐650‐6855     0           0       1         0           0              0      0      0      0      0          1
33 410‐709‐4461     0           0       0         0           0              1      0      0      0      0          1
34 410‐761‐1700     0           0       0         0           0              0      0      0     12      0         12
35 410‐826‐4312     0           0       0         1           0              0      0      0      0      0          1
36 410‐834‐8793     0           0       0         0           0              0      0      0      1      0          1
37 410‐858‐3029     0          1        0         0           0              0      0      0     0       0          1
38 410‐858‐7993     1          0        0         0           0              0      0      0     0       0          1
39 410‐862‐8707     0          1        0         0           0              0      0      0     0       0          1
40 410‐865‐0058     0          0        0         0           0              0      0      0     1       0          1
41 410‐873‐9045     0          0        0         0           0              0      0      0     1       0          1


                                                       masterpivotall (4)                                               Page 1
                         Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 6 of 37
                                                   call log master


          A        B          C        D         E            F             G      H      I      J      K          L
3 Sum of Min
4                 2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
5                  Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
42 410‐882‐1579     0          0         0       1           0               0       0      0     0      0        1
43 410‐888‐3793     0          0         1       0            0              0       0      0     0      0        1
44 410‐888‐3808     1          0         0       0            0              0       0      0     0      0        1
45 410‐907‐0618     1          0         0       0            0              0       0      0     0      0        1
46 410‐952‐8077     0          0         0       0            0              0       0     32     0      0       32
47 410‐975‐9534     0          0         0       0            0              0       0      0     1      0        1
48 417‐832‐2589     0          0         0       0            0              0       1      0     0      0        1
49 443‐928‐0884     0         44         0       0            0              5       0      0     0      0       49
50 480‐225‐9846     0          0         0       0            0              0       0     23     0      0       23
51 512‐427‐9057     0          0         0       0            5              0       0      0     0      0        5
52 516‐404‐6277     0          0         2       0            0              0       0      0     0      0        2
53 603‐402‐5045     0         10         0       0            0              0       0      0     0      0       10
54 610‐212‐1650     0          0         0       1            0              0       0      0     0      0        1
55 617‐453‐4494     0          0         0       0            0              0       1      0     0      0        1
56 646‐287‐2350    19          0         0       0            0              0       0      0     0      0       19
57 646‐469‐2229     0          3         0       0            0              0       0      0     0      0        3
58 646‐759‐4567     0          0         0       0           0               0      18      0     0      0       18
59 650‐489‐9958     0          0         0       0           0               0       0      0     1      0        1
60 650‐560‐7687     0          1         0       0            0              0       0      0     0      0        1
61 667‐249‐5742     0          0         0       0            0              0       1      0     0      0        1
62 667‐402‐1310     0          0         0       0            0              1       0      0     0      0        1
63 704‐247‐5913     0          0         0       0            0              0       0      0     0      9        9
64 714‐707‐3260     0          0         0       0            0              0       0      1     0      0        1
65 716‐462‐3656     0          0         0       0            0              0       0      0    31      0       31
66 716‐635‐4520     0          0         0       0            0              0       0      2     0      0        2
67 718‐404‐5960     0          0         0      17            0              0       0      0     0      0       17
68 726‐245‐6264     0          0         0       1            0              0       0      0     0      0        1
69 816‐800‐1875    24          0         0      39            0             94      40      0     0      0       197
70 844‐244‐6843     0          0         0       1            0              1       1      0     2      1        6
71 855‐464‐9707     0          0         0       0            0              0       0     26     0      0       26
72 866‐724‐8527     0          0         0       0            0              0       0      0     1      0        1
73 877‐329‐2645     0          0         0       0            0              0       0      0     1      0        1
74 877‐724‐4219     0          0         0       0            0              0       0      0     0      1        1
75 917‐628‐1555     0          0        30       8           4               0       0      0     0      0       42
76 NEW YORK NY
77 212‐318‐2000    0          15       0         0           18             0      0      0      0      0         33


                                                      masterpivotall (4)                                               Page 2
                           Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 7 of 37
                                                     call log master


               A     B          C        D         E            F             G      H      I      J      K          L
 3 Sum of Min
 4                  2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
 5                   Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
 78 646‐287‐2350      0         25         0       0           0              0       0      0     0       0        25
 79 646‐643‐5008      0          0        30       0           0              0       0      0     0       0        30
 80 646‐689‐3097      0          0        29       0           0              0       0      0     0       0        29
 81 917‐628‐1555      0          0         1       0            0             1       0      0     0       0         2
 82 917‐913‐7347      0          0        28       0           0              0       0      0     0       0        28
 83 NORRISTOWN PA
 84 610‐212‐1650     0          0        0         1           0              0      0      0      0      0         1
 85 ORANGE NJ
 86 862‐252‐0118     0          0        26        0           0              0      0      0      0      0         26
 87 SANTA ANA CA
 88 714‐830‐3351     0          0        0         0           0              0      0      0      1      0         1
 89 SEVERNAPRK MD
 90 410‐544‐0351     0          0        2         0           0              0      0      0      0      0         2
 91 SNFC CNTRL CA
 92 415‐738‐2935     0          0        0         0           0              0     50     143    44      0        237
 93 Toll Free CL
 94 800‐343‐3548     0           0       0         0           0              0      0      0      0      6         6
 95 800‐397‐3742     0           0       0         0           0              0      0      0      3      0         3
 96 800‐568‐7625     0           0       0         0           0              0     16      0      0      0        16
 97 800‐724‐2440     1           0       0         0           0              4      1      5      0      0        11
 98 800‐724‐2525     0           0       0         0           0             31      0      0      0      0        31
 99 800‐724‐4411     3           0       0         0           0              0      0      0      0      0         3
100 800‐724‐8644     0           0       0         0           0              0     47     62     26      0        135
101 800‐730‐0126     0           0       0         0           0              0      0      0      5      0         5
102 800‐790‐9130     2           0       0         0           0             18      0      0      0      0        20
103 800‐916‐8800     0           0       0         0           0              0      0     96      3      0        99
104 800‐934‐6489     0           5       0         0           0              0      0      0      0      0         5
105 833‐806‐1627     0           0       0         0           0              0      0      0      2      0         2
106 855‐242‐9918     0          55       0         0           0              0      0      0      0      0        55
107 855‐411‐2372     0           0       0         0           0              0      0      3      0      0         3
108 855‐414‐6047     0           0       0         0           0              0     24     34      0      0        58
109 855‐414‐6048     0           0       0         0           0              0     44     23      0      0        67
110 855‐432‐8475     0           0       0         0           0              0      1      0      0      0         1
111 855‐435‐1153     0           0       0         0           0             28      0      0      0      0        28
112 855‐755‐2787     0           0       0         0           8              0      0      0      0      0         8
113 866‐279‐0888     0           0       0         0           0             10      2     21      9      0        42


                                                        masterpivotall (4)                                               Page 3
                           Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 8 of 37
                                                     call log master


            A        B          C        D         E            F             G      H      I      J      K          L
 3 Sum of Min
 4                  2020       2020     2020     2020         2020           2020   2021   2021   2021   2021   Grand Total
 5                   Jul       Aug       Sep      Oct         Nov            Dec     Jan    Feb   Mar     Apr
114 866‐349‐5186      0          0        0        0            0             0       0      29     0      0        29
115 866‐349‐5191      0          0        0        0            0             0       0       0     5      0         5
116 866‐352‐3799     22          0        0        0            0             0       0       0     0      0        22
117 866‐466‐0979      0          0        0        0            0             0       0       0     1      0         1
118 866‐617‐1894      0          0        0        0            0             0       0       2     0      0         2
119 866‐640‐2273      0          0        0        0            0             0       0       0    24      0        24
120 877‐327‐2529      0          0        0        0            0             0       0       7     0      0         7
121 888‐434‐0055      0          0        0        0            0              0      0       0    28      0        28
122 888‐548‐7878      0          0        0        0            0              0      0       0     3      0         3
123 888‐613‐8874      0          0        0        0            0              0      0       0     0      3         3
124 888‐678‐3688      0          0        0        0           18              0      0       0     0      0        18
125 TOWSON MD
126 410‐583‐2723     0          0        0         0           0              0      0      0      2      0         2
127 WASHINGTON DC
128 202‐224‐4654     0          0        0         0           0              0      0      0     10      0         10
129 WILLIAMSVL NY
130 716‐635‐4000     0          0        0         0           0              0      5      0      0      0          5
131 716‐635‐4517     0          0        0         0           0              0      8      1      0      0          9
132 716‐635‐4520     0          0        0         0           0              0      0     59      0      0         59
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                                                        masterpivotall (4)                                               Page 4
                             Case 1:21-cv-00532-SAG Document     77-6 Filed 07/10/21 Page 9 of 37
                                                       call log master


               A       B           C         D         E                F      G      H         I      J      K
 3   Count of Calls
 4                    2020        2020      2020      2020            2020    2020   2021      2021   2021   2021
 5                     Jul        Aug       Sep        Oct            Nov     Dec     Jan      Feb    Mar     Apr
 6   BALTIMORE MD
 7    410‐223‐1910     0           0         0         0                0      2      0         0      0      0
 8    410‐223‐1921     0           0         0         1                0      1      0         0      0      0
 9    410‐223‐1930     0           0         0         0                0      1      0         0      0      0
10    410‐244‐1714     0           0         0         1                0      0      0         0      0      0
11    410‐244‐4097     0           0         0         0                0      0      1         0      0      0
12    410‐385‐3656     0           0         0         0                0      0      0         0      1      0
13    410‐539‐3112     0           0         0         0                0      0      0         1      0      0
14    410‐545‐2155     0           0         0         0                0      1      0         0      1      0
15    410‐576‐2004     1           0         0         0                0      0      0         0      0      0
16    410‐625‐5862     0           0         0         0                0      0      0         0      1      0
17    410‐727‐6464     0           0         0         0                0      0      0         0      1      0
18    410‐783‐1024     0           0         0         0                0      0      0         0      1      0
19    410‐962‐0950     0           0         0         0                0      0      0         0      2      0
20    410‐962‐2600     0           0         0         0                0      0      0         0      7      3
21    410‐962‐3625     0           0         0         0                0      0      0         0      3      0
22    410‐962‐3854     0           0         0         0                0      0      0         0      1      1
23    410‐962‐3887     0           0         0         0                0      0      0         0      1      0
24    410‐962‐3937     0           0         0         0                0      0      0         0      4      1
25    410‐962‐3983     0           0         0         0                0      0      0         0      1      0
26    410‐962‐4029     0           0         0         0                0      0      0         0      0      2
27    410‐962‐6792     0           0         0         0                0      0      0         0      0      1
28    410‐962‐7780     0           0         0         0                0      0      0         0      1      0
29    443‐386‐2183     0           0         0         0                0      0      0         0      0      2
30    443‐463‐9417     0           0         0         0                0      0      0         0      1      0
31    443‐742‐6968     0           0         0         0                0      1      0         0      0      0
32    443‐743‐3874     0           0         0         2                0      0      0         0      0      0
33   BOWE GLNDL MD
34    301‐470‐7177     0           0         0         1                0      0      0         0      0      0
35   BUFFALO NY
36    716‐462‐3656     0           0         0         0                0      0      0         0      1      0
37    716‐839‐8711     0           0         0         0                0      0      0         0      1      0
38    716‐842‐5138     0           0         0         0                0      3      3         0      0      0
39    716‐842‐5139     0           0         0         0                0      0      1         0      0      0
40    716‐842‐5385     0           0         0         0                0      0      1         0      0      0
41    716‐842‐5390     0           0         0         0                0      0      4         0      0      0
42   CALL WAIT
43    410‐223‐1916     0           0         0         0                1      0      0         0      0      0


                                                             masterpivotall                                       Page 1
                             Case 1:21-cv-00532-SAG Document      77-6 Filed 07/10/21 Page 10 of 37
                                                        call log master


               A       B           C          D         E                F      G      H         I      J      K
 3   Count of Calls
 4                    2020        2020       2020      2020            2020    2020   2021      2021   2021   2021
 5                     Jul        Aug        Sep        Oct            Nov     Dec     Jan      Feb    Mar     Apr
44     410‐223‐1944     0          0          1          0              0       0       0        1      0       0
45     410‐858‐7435     0          0          0          0              0       0       0        0      0       2
46   CHARLOTTE NC
47     704‐247‐5914    0           0          0         0                0      0      0         1      0      0
48   CHESTER PA
49     610‐546‐4762    0           0          0         0                0      0      0         0      1      0
50   CHICAGO IL
51     312‐542‐6901    0           0          0         0                0      0      0         0      1      0
52     312‐985‐2860    0           0          0         0                0      0      0         0      1      0
53   DALLAS TX
54     214‐969‐5530    0           0          0         0                0      0      0         0      0      2
55   DUNDALK MD
56     443‐586‐5165    0           0          0         5                0      0      0         0      0      0
57   GARDENCITY NY
58     516‐404‐6277    0           0          0         0                0      0      0         0      1      0
59   GLENBURNIE MD
60     410‐553‐0694    0           0          0         0                0      1      0         0      0      0
61     410‐761‐1700    0           0          0         0                0      0      0         0      1      0
62   HACKENSACK NJ
63     201‐368‐4515    0           0          0         0                0      0      2         0      0      0
64   HOUSTON TX
65     713‐236‐7400    0           0          0         0                0      0      0         0      0      2
66   INCOMING CL
67     208‐400‐2014    0           0          0         0                0      0      0         0      1      0
68     240‐307‐5464    0           0          0         0                0      0      0         0      1      0
69     240‐393‐2179    0           1          0         0                0      0      0         0      0      0
70     240‐557‐1797    0           0          0         2                0      0      0         0      0      0
71     240‐681‐6085    0           0          0         0                1      0      0         0      0      0
72     251‐302‐4214    0           0          0         0                0      0      0         0      1      0
73     251‐302‐4487    0           0          0         0                0      0      0         0      1      0
74     251‐726‐2121    0           0          0         0                0      0      1         0      0      0
75     281‐241‐5375    0           0          0         1                0      0      0         0      0      0
76     301‐351‐5396    0           0          0         11               1      4      2         0      0      0
77     315‐440‐5411    0           1          0         0                0      0      0         0      0      0
78     323‐500‐0477    0           0          0         0                0      0      0         0      1      0
79     347‐327‐2500    0           1          0         0                0      0      0         0      0      0
80     360‐215‐5000    0           0          0         0                0      0      0         1      0      0
81     410‐223‐1921    0           0          0         4                1      0      0         0      0      0


                                                              masterpivotall                                       Page 2
                              Case 1:21-cv-00532-SAG Document      77-6 Filed 07/10/21 Page 11 of 37
                                                         call log master


                A       B           C          D         E                F      G      H         I      J      K
 3    Count of Calls
 4                     2020        2020       2020      2020            2020    2020   2021      2021   2021   2021
 5                      Jul        Aug        Sep        Oct            Nov     Dec     Jan      Feb    Mar     Apr
82     410‐223‐1925      0          0          3          6              0       1       1        0      0       0
83     410‐223‐1930      0          0          0          1              0       0       0        0      0       0
84     410‐223‐1944      3          7          2          1              4       4       12       2      2       0
85     410‐226‐8233      0          0          0          1              0       0       0        0      0       0
86     410‐228‐7928      1          0          0          0              0       0       0        0      0       0
87     410‐266‐7170      0          1          0          0              0       0       0        0      1       0
88     410‐266‐7172      0          0          1          0              0       0       0        0      0       0
89     410‐304‐7557      1          0          0          0              0       0       0        0      0       0
90     410‐323‐9322      0          0          0          0              1       0       0        0      0       0
91     410‐385‐3656      0          0          0          0              0       0       0        0      1       0
92     410‐397‐5778      0          0          0          1              0       0       0        0      0       0
93     410‐545‐2156      0          0          0          0              0       1       0        0      0       0
94     410‐555‐5458      0          0          1          0              0       0       0        0      0       0
95     410‐583‐2723      0          0          0          0              1       0       0        0      1       1
96     410‐586‐1081      0          0          0          0              1       0       0        0      0       0
97     410‐647‐8771      0          0          0          0              0       0       0        0      1       0
98     410‐650‐6855      0          0          1          0              0       0       0        0      0       0
99     410‐709‐4461      0          0          0          0              0       1       0        0      0       0
100    410‐761‐1700      0          0          0          0              0       0       0        0      1       0
101    410‐826‐4312      0          0          0          1              0       0       0        0      0       0
102    410‐834‐8793      0          0          0          0              0       0       0        0      1       0
103    410‐858‐3029      0          1          0          0              0       0       0        0      0       0
104    410‐858‐7435      9          19         14        11              2       4       13       4      8       7
105    410‐858‐7436      0          0          0          1              0       0       0        0      0       0
106    410‐858‐7899      2          1          2          2              2       2       0        1      3       1
107    410‐858‐7993      1          0          0          0              0       0       0        0      0       0
108    410‐862‐8707      0          1          0          0              0       0       0        0      0       0
109    410‐865‐0058      0          0          0          0              0       0       0        0      1       0
110    410‐873‐9045      0          0          0          0              0       0       0        0      1       0
111    410‐882‐1579      0          0          0          1              0       0       0        0      0       0
112    410‐888‐3793      0          0          1          0              0       0       0        0      0       0
113    410‐888‐3808      1          0          0          0              0       0       0        0      0       0
114    410‐907‐0618      1          0          0          0              0       0       0        0      0       0
115    410‐952‐8077      0          0          0          0              0       0       0        1      0       0
116    410‐962‐3923      0          0          0          0              0       0       0        0      2       0
117    410‐975‐9534      0          0          0          0              0       0       0        0      1       0
118    417‐832‐2589      0          0          0          0              0       0       1        0      0       0
119    443‐201‐1595      0          0          0          0              0       0       0        0      1       0


                                                               masterpivotall                                       Page 3
                              Case 1:21-cv-00532-SAG Document      77-6 Filed 07/10/21 Page 12 of 37
                                                         call log master


                A       B           C          D         E                F      G      H         I      J      K
 3    Count of Calls
 4                     2020        2020       2020      2020            2020    2020   2021      2021   2021   2021
 5                      Jul        Aug        Sep        Oct            Nov     Dec     Jan      Feb    Mar     Apr
120     443‐417‐3738     0          0          0          0              0       1       0        0      0       0
121     443‐454‐8368     0          1          0          0              0       0       0        0      0       0
122     443‐586‐5165     0          0          0          1              0       0       0        0      0       0
123     443‐742‐6968     1          0          0          0              0       0       0        0      0       0
124     443‐928‐0884     0          1          0          0              0       1       0        0      0       0
125     480‐225‐9846     0          0          0          0              0       0       0        1      0       0
126     512‐427‐9057     0          0          0          0              1       0       0        0      0       0
127     516‐404‐6277     0          0          1          0              0       0       0        0      0       0
128     603‐402‐5045     0          1          0          0              0       0       0        0      0       0
129     610‐212‐1650     0          0          0          1              0       0       0        0      0       0
130     617‐453‐4494     0          0          0          0              0       0       1        0      0       0
131     646‐287‐2350     1          0          0          0              0       0       0        0      0       0
132     646‐469‐2229     0          1          0          0              0       0       0        0      0       0
133     646‐759‐4567     0          0          0          0              0       0       1        0      0       0
134     650‐489‐9958     0          0          0          0              0       0       0        0      1       0
135     650‐560‐7687     0          1          0          0              0       0       0        0      0       0
136     667‐249‐5742     0          0          0          0              0       0       1        0      0       0
137     667‐402‐1310     0          0          0          0              0       1       0        0      0       0
138     704‐247‐5913     0          0          0          0              0       0       0        0      0       3
139     714‐707‐3260     0          0          0          0              0       0       0        1      0       0
140     716‐462‐3656     0          0          0          0              0       0       0        0      2       0
141     716‐635‐4520     0          0          0          0              0       0       0        1      0       0
142     718‐404‐5960     0          0          0          1              0       0       0        0      0       0
143     726‐245‐6264     0          0          0          1              0       0       0        0      0       0
144     816‐800‐1875     2          0          0          2              0       4       3        0      0       0
145     844‐244‐6843     0          0          0          1              0       1       1        0      2       1
146     855‐464‐9707     0          0          0          0              0       0       0        1      0       0
147     866‐724‐8527     0          0          0          0              0       0       0        0      1       0
148     877‐329‐2645     0          0          0          0              0       0       0        0      1       0
149     877‐724‐4219     0          0          0          0              0       0       0        0      0       1
150     917‐628‐1555     0          0          2          1              1       0       0        0      0       0
151   JACKSONVL FL
152     904‐394‐0279    0           0          0         0                0      0      0         0      1      0
153   MIDLAND TX
154     432‐688‐2700    0           0          0         0                0      0      0         0      3      0
155   NEW YORK NY
156     212‐318‐2000    0           2          0         0                2      0      0         0      0      0
157     646‐287‐2350    0           1          0         0                0      0      0         0      0      0


                                                               masterpivotall                                       Page 4
                              Case 1:21-cv-00532-SAG Document      77-6 Filed 07/10/21 Page 13 of 37
                                                         call log master


                A       B           C          D         E                F      G      H         I      J      K
 3    Count of Calls
 4                     2020        2020       2020      2020            2020    2020   2021      2021   2021   2021
 5                      Jul        Aug        Sep        Oct            Nov     Dec     Jan      Feb    Mar     Apr
158     646‐643‐5008     0          0          1          0              0       0       0        0      0       0
159     646‐689‐3097     0          0          1          0              0       0       0        0      0       0
160     917‐628‐1555     0          0          1          0              0       1       0        0      0       0
161     917‐913‐7347     0          0          1          0              0       0       0        0      0       0
162   NORRISTOWN PA
163     610‐212‐1650    0           0          0         1                0      0      0         0      0      0
164   ORANGE NJ
165     862‐252‐0118    0           0          1         0                0      0      0         0      0      0
166   OROFINO ID
167     208‐400‐2014    0           0          0         0                0      0      0         0      1      0
168   RICHMOND VA
169     804‐305‐5922    0           0          1         0                0      0      0         0      0      0
170   ROCKVILLE MD
171     301‐545‐1500    0           0          0         0                0      0      0         0      1      0
172   SANTA ANA CA
173     714‐830‐3351    0           0          0         0                0      0      0         0      1      0
174   SEVERN MD
175     410‐222‐6859    0           0          0         0                0      0      0         1      0      0
176   SEVERNAPRK MD
177     410‐544‐0351    0           0          1         0                0      0      0         0      0      0
178   SILVER SPG MD
179     301‐351‐5396    0           0          1         1                3      1      1         1      0      0
180   SNFC CNTRL CA
181     415‐738‐2935    0           0          0         0                0      0      8         7      5      0
182   SNMN SNMN CA
183     310‐526‐3406    0           0          0         0                0      0      1         0      0      0
184   Toll Free CL
185     800‐343‐3548    0           0          0         0                0      0      0         0      0      1
186     800‐397‐3742    0           0          0         0                0      0      0         0      1      0
187     800‐568‐7625    0           0          0         0                0      0      2         0      0      0
188     800‐724‐2440    1           0          0         0                0      2      1         2      0      0
189     800‐724‐2525    0           0          0         0                0      3      0         0      0      0
190     800‐724‐4411    1           0          0         0                0      0      0         0      0      0
191     800‐724‐8644    0           0          0         0                0      0      5         3      9      0
192     800‐730‐0126    0           0          0         0                0      0      0         0      1      0
193     800‐790‐9130    1           0          0         0                0      3      0         0      0      0
194     800‐916‐8800    0           0          0         0                0      0      0         1      1      0
195     800‐934‐6489    0           1          0         0                0      0      0         0      0      0


                                                               masterpivotall                                       Page 5
                              Case 1:21-cv-00532-SAG Document      77-6 Filed 07/10/21 Page 14 of 37
                                                         call log master


                A       B           C          D         E                F      G      H         I      J      K
 3    Count of Calls
 4                     2020        2020       2020      2020            2020    2020   2021      2021   2021   2021
 5                      Jul        Aug        Sep        Oct            Nov     Dec     Jan      Feb    Mar     Apr
196    833‐806‐1627      0          0          0          0              0       0       0        0      1       0
197    855‐242‐9918      0          1          0          0              0       0       0        0      0       0
198    855‐411‐2372      0          0          0          0              0       0       0        1      0       0
199    855‐414‐6047      0          0          0          0              0       0       1        1      0       0
200    855‐414‐6048      0          0          0          0              0       0       2        1      0       0
201    855‐432‐8475      0          0          0          0              0       0       1        0      0       0
202    855‐435‐1153      0          0          0          0              0       1       0        0      0       0
203    855‐755‐2787      0          0          0          0              1       0       0        0      0       0
204    866‐279‐0888      0          0          0          0              0       3       1        4      2       0
205    866‐349‐5186      0          0          0          0              0       0       0        1      0       0
206    866‐349‐5191      0          0          0          0              0       0       0        0      1       0
207    866‐352‐3799      2          0          0          0              0       0       0        0      0       0
208    866‐466‐0979      0          0          0          0              0       0       0        0      1       0
209    866‐617‐1894      0          0          0          0              0       0       0        1      0       0
210    866‐640‐2273      0          0          0          0              0       0       0        0      2       0
211    866‐754‐9744     21          11         15        22              11      10      20       10     17      4
212    877‐327‐2529      0          0          0          0              0       0       0        1      0       0
213    888‐434‐0055      0          0          0          0              0       0       0        0      1       0
214    888‐548‐7878      0          0          0          0              0       0       0        0      1       0
215    888‐613‐8874      0          0          0          0              0       0       0        0      0       1
216    888‐678‐3688      0          0          0          0              1       0       0        0      0       0
217   TOWSON MD
218    410‐583‐2723     0           0          0         0                0      0      0         0      1      0
219   WASHINGTON DC
220    202‐224‐4654     0           0          0         0                0      0      0         0      1      0
221   WILLIAMSVL NY
222    716‐635‐4000     0           0          0         0                0      0      1         0      0      0
223    716‐635‐4517     0           0          0         0                0      0      5         1      0      0
224    716‐635‐4520     0           0          0         0                0      0      0         30     0      0
225   WILMINGTON DE
226    302‐636‐6770     0           0          0         0                0      0      1         0      0      0
227    302‐658‐5279     0           0          0         0                0      0      0         1      0      0




                                                               masterpivotall                                       Page 6
                               Case 1:21-cv-00532-SAG Document
                                                           Page77-6
                                                                1   Filed 07/10/21 Page 15 of 37                 call log master

Index        Day       Date               Time                 Number Called     Call To           Min         Rate Code
         0   Wednesday        7/15/2020          12:54:00 PM   866‐754‐9744      Toll Free CL             75   WIFI
         1   Wednesday        7/15/2020           2:11:00 PM   866‐754‐9744      Toll Free CL             23   WIFI
         2   Thursday         7/16/2020           8:12:00 AM   410‐576‐2004      BALTIMORE MD              5   WIFI
         3   Thursday         7/16/2020           8:59:00 AM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
         4   Thursday         7/16/2020           9:21:00 AM   410‐858‐7435      INCOMING CL               1   WIFI
         5   Thursday         7/16/2020          11:59:00 AM   866‐754‐9744      Toll Free CL             51   WIFI
         6   Thursday         7/16/2020          12:50:00 PM   866‐754‐9744      Toll Free CL             73   WIFI
         7   Thursday         7/16/2020           2:36:00 PM   410‐907‐0618      INCOMING CL               1   WIFI
         8   Thursday         7/16/2020           3:32:00 PM   443‐742‐6968      INCOMING CL              13   WIFI
         9   Thursday         7/16/2020           4:36:00 PM   410‐858‐7435      INCOMING CL               1   WIFI
        10   Thursday         7/16/2020           4:59:00 PM   866‐754‐9744      Toll Free CL             35   WIFI
        11   Thursday         7/16/2020           5:34:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
        12   Thursday         7/16/2020           6:01:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
        13   Thursday         7/16/2020           6:02:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
        14   Thursday         7/16/2020           6:02:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
        15   Thursday         7/16/2020           6:03:00 PM   410‐858‐7899      ANNAPOLIS MD              2   WIFI
        16   Thursday         7/16/2020           6:04:00 PM   410‐858‐7436      ANNAPOLIS MD              2   WIFI
        17   Thursday         7/16/2020           6:14:00 PM   410‐858‐7435      ANNAPOLIS MD              3   WIFI
        18   Thursday         7/16/2020           7:04:00 PM   410‐858‐7435      INCOMING CL               1   WIFI
        19   Friday           7/17/2020           9:52:00 AM   866‐754‐9744      Toll Free CL            115   WIFI
        20   Friday           7/17/2020           1:26:00 PM   410‐888‐3808      INCOMING CL               1   WIFI
        21   Friday           7/17/2020           5:03:00 PM   410‐858‐7435      INCOMING CL               2   WIFI
        22   Monday           7/20/2020           2:56:00 PM   866‐754‐9744      Toll Free CL             59   SDDV
        23   Tuesday          7/21/2020          12:04:00 PM   866‐754‐9744      Toll Free CL             42   SDDV
        24   Tuesday          7/21/2020           2:56:00 PM   866‐754‐9744      Toll Free CL             31   SDDV
        25   Wednesday        7/22/2020          10:56:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
        26   Wednesday        7/22/2020          10:57:00 AM   866‐754‐9744      Toll Free CL             76   SDDV
        27   Thursday         7/23/2020           1:25:00 PM   866‐754‐9744      Toll Free CL             63   SDDV
        28   Thursday         7/23/2020           8:33:00 PM   410‐858‐7899      ANNAPOLIS MD              1   SDDV
        29   Thursday         7/23/2020           8:35:00 PM   410‐858‐7435      INCOMING CL               4   SDDV
        30   Thursday         7/23/2020           8:38:00 PM   410‐858‐7899      ANNAPOLIS MD              2   SDDV
        31   Thursday         7/23/2020           8:42:00 PM   410‐858‐7899      INCOMING CL               2   SDDV
        32   Friday           7/24/2020          11:39:00 AM   646‐287‐2350      INCOMING CL              19   SDDV
        33   Friday           7/24/2020           2:29:00 PM   866‐754‐9744      Toll Free CL            102   SDDV


                                                                  Page 1 of 23
                               Case 1:21-cv-00532-SAG Document
                                                           Page77-6
                                                                2   Filed 07/10/21 Page 16 of 37                 call log master

Index        Day       Date               Time                 Number Called     Call To           Min         Rate Code
        34   Friday           7/24/2020           4:10:00 PM   866‐754‐9744      Toll Free CL             77   SDDV
        35   Saturday         7/25/2020           7:59:00 PM   410‐858‐7435      INCOMING CL               2   SDDV
        36   Saturday         7/25/2020           9:03:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
        37   Monday           7/27/2020          10:27:00 AM   866‐754‐9744      Toll Free CL             84   SDDV
        38   Monday           7/27/2020           3:22:00 PM   800‐790‐9130      Toll Free CL              2   SDDV
        39   Monday           7/27/2020           3:23:00 PM   800‐724‐2440      Toll Free CL              1   SDDV
        40   Monday           7/27/2020           3:25:00 PM   410‐757‐8616      ANNAPOLIS MD              1   SDDV
        41   Tuesday          7/28/2020           9:44:00 AM   410‐223‐1944      INCOMING CL               1   SDDV
        42   Tuesday          7/28/2020          11:35:00 AM   410‐304‐7557      INCOMING CL               1   SDDV
        43   Tuesday          7/28/2020           3:00:00 PM   866‐754‐9744      Toll Free CL            127   SDDV
        44   Tuesday          7/28/2020           6:15:00 PM   816‐800‐1875      INCOMING CL               1   SDDV
        45   Tuesday          7/28/2020           6:16:00 PM   816‐800‐1875      INCOMING CL              23   SDDV
        46   Tuesday          7/28/2020           7:46:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
        47   Wednesday        7/29/2020          10:42:00 AM   866‐352‐3799      Toll Free CL              1   SDDV
        48   Wednesday        7/29/2020          10:43:00 AM   866‐352‐3799      Toll Free CL             21   SDDV
        49   Wednesday        7/29/2020          11:46:00 AM   410‐223‐1944      INCOMING CL               1   SDDV
        50   Wednesday        7/29/2020           1:57:00 PM   866‐754‐9744      Toll Free CL             31   SDDV
        51   Wednesday        7/29/2020           5:26:00 PM   866‐754‐9744      Toll Free CL             30   SDDV
        52   Thursday         7/30/2020          11:23:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
        53   Thursday         7/30/2020          11:25:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
        54   Thursday         7/30/2020          11:25:00 AM   866‐754‐9744      Toll Free CL             98   SDDV
        55   Thursday         7/30/2020           1:19:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
        56   Thursday         7/30/2020           5:45:00 PM   410‐228‐7928      INCOMING CL               1   SDDV
        57   Thursday         7/30/2020           6:25:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
        58   Thursday         7/30/2020           7:45:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
        59   Friday           7/31/2020           1:41:00 PM   410‐858‐7993      INCOMING CL               1   SDDV
        60   Friday           7/31/2020           2:42:00 PM   800‐724‐4411      Toll Free CL              3   WIFI
        61   Friday           7/31/2020           6:00:00 PM   410‐858‐7899      INCOMING CL               1   WIFI
        62   Friday           7/31/2020           7:03:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
        63   Sunday            8/2/2020           5:38:00 PM   410‐858‐7435      INCOMING CL               2   SDDV
        64   Sunday            8/2/2020           7:16:00 PM   646‐287‐2350      NEW YORK NY              25   SDDV
        65   Monday            8/3/2020           2:15:00 PM   443‐928‐0884      INCOMING CL              44   SDDV
        66   Tuesday           8/4/2020           2:00:00 PM   800‐934‐6489      Toll Free CL              5   SDDV
        67   Tuesday           8/4/2020           3:51:00 PM   410‐862‐8707      INCOMING CL               1   SDDV


                                                                  Page 2 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page77-6
                                                             3   Filed 07/10/21 Page 17 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To           Min        Rate Code
     68   Thursday          8/6/2020          10:55:00 AM   855‐242‐9918      Toll Free CL            55   SDDV
     69   Thursday          8/6/2020          12:51:00 PM   410‐223‐1944      INCOMING CL              1   SDDV
     70   Thursday          8/6/2020           3:41:00 PM   410‐858‐7899      INCOMING CL              1   SDDV
     71   Friday            8/7/2020          10:26:00 AM   866‐754‐9744      Toll Free CL            21   SDDV
     72   Saturday          8/8/2020           2:38:00 PM   410‐266‐7170      ANNAPOLIS MD             1   SDDV
     73   Saturday          8/8/2020           2:39:00 PM   410‐266‐7170      ANNAPOLIS MD             1   SDDV
     74   Saturday          8/8/2020           2:45:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     75   Saturday          8/8/2020           2:46:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     76   Saturday          8/8/2020           2:56:00 PM   443‐454‐8368      INCOMING CL              2   SDDV
     77   Saturday          8/8/2020           3:01:00 PM   410‐266‐7170      INCOMING CL              2   SDDV
     78   Tuesday          8/11/2020           1:30:00 PM   347‐327‐2500      INCOMING CL             22   SDDV
     79   Wednesday        8/12/2020           9:36:00 AM   646‐469‐2229      INCOMING CL              3   SDDV
     80   Wednesday        8/12/2020           1:47:00 PM   410‐223‐1944      INCOMING CL              1   SDDV
     81   Wednesday        8/12/2020           5:09:00 PM   410‐858‐7435      INCOMING CL              5   WIFI
     82   Wednesday        8/12/2020           7:50:00 PM   410‐858‐7435      ANNAPOLIS MD             1   SDDV
     83   Wednesday        8/12/2020           7:51:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     84   Wednesday        8/12/2020           9:11:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     85   Thursday         8/13/2020           8:11:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     86   Monday           8/17/2020           1:28:00 PM   866‐754‐9744      Toll Free CL            24   SDDV
     87   Monday           8/17/2020           2:07:00 PM   866‐754‐9744      Toll Free CL            18   SDDV
     88   Monday           8/17/2020           6:41:00 PM   410‐858‐7435      INCOMING CL              1   WIFI
     89   Monday           8/17/2020           9:56:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     90   Monday           8/17/2020           9:57:00 PM   410‐858‐7435      INCOMING CL              3   WIFI
     91   Monday           8/17/2020           9:59:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
     92   Tuesday          8/18/2020           8:21:00 PM   410‐858‐7435      INCOMING CL              1   WIFI
     93   Tuesday          8/18/2020           8:58:00 PM   410‐858‐7435      ANNAPOLIS MD             2   WIFI
     94   Wednesday        8/19/2020           9:07:00 AM   443‐709‐8149      ARBUTUS MD               2   SDDV
     95   Wednesday        8/19/2020          10:33:00 AM   410‐223‐1944      INCOMING CL             56   SDDV
     96   Wednesday        8/19/2020          11:51:00 AM   866‐754‐9744      Toll Free CL             2   SDDV
     97   Wednesday        8/19/2020          12:39:00 PM   212‐318‐2000      NEW YORK NY              8   SDDV
     98   Wednesday        8/19/2020           3:50:00 PM   866‐754‐9744      Toll Free CL            34   SDDV
     99   Thursday         8/20/2020           9:34:00 AM   603‐402‐5045      INCOMING CL             10   SDDV
    100   Thursday         8/20/2020          12:56:00 PM   410‐858‐7435      INCOMING CL              5   WIFI
    101   Thursday         8/20/2020           3:12:00 PM   866‐754‐9744      Toll Free CL            93   WIFI


                                                               Page 3 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page77-6
                                                             4   Filed 07/10/21 Page 18 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To           Min        Rate Code
    102   Thursday         8/20/2020           8:02:00 PM   212‐318‐2000      NEW YORK NY              7   WIFI
    103   Thursday         8/20/2020           8:58:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
    104   Friday           8/21/2020          10:13:00 AM   866‐754‐9744      Toll Free CL            28   SDDV
    105   Friday           8/21/2020          11:25:00 AM   866‐754‐9744      Toll Free CL            49   SDDV
    106   Friday           8/21/2020          12:18:00 PM   866‐754‐9744      Toll Free CL            18   SDDV
    107   Friday           8/21/2020          12:41:00 PM   410‐223‐1944      INCOMING CL              1   SDDV
    108   Friday           8/21/2020           3:44:00 PM   410‐223‐1944      INCOMING CL              1   WIFI
    109   Friday           8/21/2020           4:07:00 PM   410‐223‐1944      INCOMING CL              1   WIFI
    110   Friday           8/21/2020           8:22:00 PM   410‐858‐7435      ANNAPOLIS MD             1   WIFI
    111   Friday           8/21/2020           8:23:00 PM   410‐858‐7435      ANNAPOLIS MD             1   WIFI
    112   Friday           8/21/2020           8:24:00 PM   410‐858‐7899      ANNAPOLIS MD             1   SDDV
    113   Friday           8/21/2020           8:24:00 PM   410‐858‐7899      ANNAPOLIS MD             2   WIFI
    114   Friday           8/21/2020           8:40:00 PM   410‐858‐7435      INCOMING CL              1   WIFI
    115   Saturday         8/22/2020           2:52:00 PM   410‐858‐7899      ANNAPOLIS MD             2   WIFI
    116   Saturday         8/22/2020           3:55:00 PM   410‐223‐1944      INCOMING CL              1   WIFI
    117   Monday           8/24/2020          11:01:00 AM   240‐393‐2179      INCOMING CL             14   SDDV
    118   Monday           8/24/2020           8:41:00 PM   650‐560‐7687      INCOMING CL              1   WIFI
    119   Wednesday        8/26/2020          12:56:00 PM   866‐754‐9744      Toll Free CL            18   WIFI
    120   Thursday         8/27/2020          10:40:00 AM   410‐858‐3029      INCOMING CL              1   SDDV
    121   Thursday         8/27/2020           1:26:00 PM   866‐754‐9744      Toll Free CL            56   SDDV
    122   Friday           8/28/2020           5:54:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
    123   Friday           8/28/2020           9:27:00 PM   410‐858‐7435      INCOMING CL              3   SDDV
    124   Saturday         8/29/2020           2:13:00 PM   315‐440‐5411      INCOMING CL              2   SDDV
    125   Saturday         8/29/2020           5:04:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
    126   Saturday         8/29/2020           5:04:00 PM   410‐858‐7435      INCOMING CL              1   WIFI
    127   Tuesday           9/1/2020           5:05:00 PM   410‐858‐7435      INCOMING CL              2   WIFI
    128   Tuesday           9/1/2020           8:35:00 PM   410‐858‐7435      ANNAPOLIS MD             1   SDDV
    129   Tuesday           9/1/2020          10:07:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
    130   Tuesday           9/1/2020          11:27:00 PM   410‐858‐7435      ANNAPOLIS MD             1   SDDV
    131   Wednesday         9/2/2020          12:50:00 PM   866‐754‐9744      Toll Free CL            95   SDDV
    132   Thursday          9/3/2020           9:04:00 AM   410‐266‐7170      ANNAPOLIS MD             1   SDDV
    133   Thursday          9/3/2020           9:05:00 AM   410‐266‐7170      ANNAPOLIS MD             1   SDDV
    134   Thursday          9/3/2020           9:24:00 AM   410‐266‐7172      INCOMING CL              3   SDDV
    135   Thursday          9/3/2020           3:29:00 PM   866‐754‐9744      Toll Free CL            48   WIFI


                                                               Page 4 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page77-6
                                                             5   Filed 07/10/21 Page 19 of 37                 call log master

Index     Day       Date               Time                 Number Called     Call To           Min         Rate Code
    136   Thursday          9/3/2020           4:16:00 PM   410‐223‐1944      CALL WAIT                 1   WIFI
    137   Thursday          9/3/2020           8:02:00 PM   410‐858‐7435      INCOMING CL               8   WIFI
    138   Thursday          9/3/2020           8:27:00 PM   410‐858‐7435      INCOMING CL               2   WIFI
    139   Friday            9/4/2020           1:17:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    140   Friday            9/4/2020           2:01:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    141   Friday            9/4/2020           2:02:00 PM   410‐858‐7435      INCOMING CL               4   WIFI
    142   Saturday          9/5/2020           7:06:00 PM   410‐544‐0351      SEVERNAPRK MD             2   SDDV
    143   Monday            9/7/2020           7:34:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    144   Tuesday           9/8/2020           5:09:00 PM   410‐223‐1925      INCOMING CL               2   SDDV
    145   Tuesday           9/8/2020           5:24:00 PM   410‐555‐5458      INCOMING CL               1   SDDV
    146   Tuesday           9/8/2020           8:33:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    147   Wednesday         9/9/2020           1:43:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    148   Thursday         9/10/2020           3:48:00 PM   410‐858‐7435      INCOMING CL               2   SDDV
    149   Friday           9/11/2020          11:36:00 AM   410‐650‐6855      INCOMING CL               1   SDDV
    150   Friday           9/11/2020           1:25:00 PM   866‐754‐9744      Toll Free CL            133   SDDV
    151   Sunday           9/13/2020           2:28:00 PM   410‐858‐7435      ANNAPOLIS MD              8   SDDV
    152   Monday           9/14/2020           1:20:00 PM   866‐754‐9744      Toll Free CL              2   SDDV
    153   Monday           9/14/2020           1:22:00 PM   866‐754‐9744      Toll Free CL             73   SDDV
    154   Monday           9/14/2020           7:26:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    155   Tuesday          9/15/2020           6:36:00 PM   917‐628‐1555      INCOMING CL              16   SDDV
    156   Tuesday          9/15/2020           6:52:00 PM   917‐628‐1555      NEW YORK NY               1   SDDV
    157   Tuesday          9/15/2020           6:53:00 PM   917‐628‐1555      INCOMING CL              14   SDDV
    158   Wednesday        9/16/2020           1:17:00 PM   410‐757‐7447      ANNAPOLIS MD              2   SDDV
    159   Thursday         9/17/2020          10:20:00 AM   410‐223‐1925      INCOMING CL               1   SDDV
    160   Thursday         9/17/2020           5:40:00 PM   410‐858‐7899      ANNAPOLIS MD              1   SDDV
    161   Monday           9/21/2020           9:57:00 AM   866‐754‐9744      Toll Free CL             33   SDDV
    162   Tuesday          9/22/2020           4:56:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    163   Wednesday        9/23/2020           4:33:00 PM   301‐351‐5396      SILVER SPG MD            24   SDDV
    164   Thursday         9/24/2020          12:57:00 PM   866‐754‐9744      Toll Free CL            111   SDDV
    165   Thursday         9/24/2020           5:32:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    166   Thursday         9/24/2020           6:40:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    167   Thursday         9/24/2020           6:54:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    168   Friday           9/25/2020          10:54:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
    169   Friday           9/25/2020          10:54:00 AM   866‐754‐9744      Toll Free CL             36   SDDV


                                                               Page 5 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page77-6
                                                             6   Filed 07/10/21 Page 20 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To           Min        Rate Code
    170   Friday           9/25/2020          11:42:00 AM   866‐754‐9744      Toll Free CL             1   SDDV
    171   Friday           9/25/2020          11:43:00 AM   866‐754‐9744      Toll Free CL            21   SDDV
    172   Friday           9/25/2020           2:16:00 PM   646‐643‐5008      NEW YORK NY             30   WIFI
    173   Friday           9/25/2020           3:29:00 PM   866‐754‐9744      Toll Free CL             2   WIFI
    174   Friday           9/25/2020           3:31:00 PM   866‐754‐9744      Toll Free CL             9   SDDV
    175   Friday           9/25/2020           7:39:00 PM   516‐404‐6277      INCOMING CL              2   SDDV
    176   Friday           9/25/2020           7:41:00 PM   410‐858‐7435      INCOMING CL              5   SDDV
    177   Friday           9/25/2020           9:28:00 PM   410‐858‐7435      INCOMING CL              1   WIFI
    178   Saturday         9/26/2020          12:42:00 PM   804‐305‐5922      RICHMOND VA             28   SDDV
    179   Saturday         9/26/2020           1:33:00 PM   917‐913‐7347      NEW YORK NY             28   SDDV
    180   Saturday         9/26/2020           2:08:00 PM   862‐252‐0118      ORANGE NJ               26   SDDV
    181   Saturday         9/26/2020           2:34:00 PM   814‐935‐7699      ALTOONA PA              31   SDDV
    182   Saturday         9/26/2020           3:06:00 PM   646‐689‐3097      NEW YORK NY             29   SDDV
    183   Sunday           9/27/2020           8:09:00 PM   410‐858‐7435      INCOMING CL              1   WIFI
    184   Sunday           9/27/2020          10:21:00 PM   410‐858‐7435      ANNAPOLIS MD             2   WIFI
    185   Monday           9/28/2020           2:30:00 PM   866‐754‐9744      Toll Free CL            50   SDDV
    186   Monday           9/28/2020           6:55:00 PM   410‐223‐1925      INCOMING CL             19   SDDV
    187   Tuesday          9/29/2020           1:22:00 PM   866‐754‐9744      Toll Free CL            88   WIFI
    188   Tuesday          9/29/2020           9:16:00 PM   410‐858‐7899      INCOMING CL              1   WIFI
    189   Wednesday        9/30/2020           1:13:00 PM   410‐888‐3793      INCOMING CL              1   WIFI
    190   Wednesday        9/30/2020           7:23:00 PM   410‐858‐7899      INCOMING CL              1   WIFI
    191   Friday           10/2/2020          10:37:00 AM   410‐826‐4312      INCOMING CL              1   SDDV
    192   Friday           10/2/2020          10:52:00 AM   866‐754‐9744      Toll Free CL            22   SDDV
    193   Friday           10/2/2020          11:01:00 AM   610‐212‐1650      NORRISTOWN PA            1   SDDV
    194   Monday           10/5/2020           2:56:00 PM   866‐754‐9744      Toll Free CL            33   WIFI
    195   Monday           10/5/2020           9:03:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
    196   Monday           10/5/2020          10:59:00 PM   410‐858‐7435      INCOMING CL              3   WIFI
    197   Tuesday          10/6/2020          12:21:00 PM   844‐244‐6843      INCOMING CL              1   WIFI
    198   Tuesday          10/6/2020           9:22:00 PM   410‐858‐7435      INCOMING CL              4   WIFI
    199   Wednesday        10/7/2020          10:18:00 AM   443‐586‐5165      INCOMING CL              3   WIFI
    200   Wednesday        10/7/2020          11:49:00 AM   410‐223‐1944      INCOMING CL              1   WIFI
    201   Wednesday        10/7/2020           5:22:00 PM   410‐858‐7435      INCOMING CL              2   SDDV
    202   Wednesday        10/7/2020           9:55:00 PM   410‐858‐7435      INCOMING CL              1   SDDV
    203   Wednesday        10/7/2020          10:50:00 PM   410‐858‐7435      ANNAPOLIS MD             1   SDDV


                                                               Page 6 of 23
                           Case 1:21-cv-00532-SAG Document
                                                       Page77-6
                                                            7   Filed 07/10/21 Page 21 of 37                 call log master

Index     Day       Date            Time                 Number Called     Call To             Min         Rate Code
    204   Thursday        10/8/2020        12:41:00 PM   410‐397‐5778      INCOMING CL                 1   SDDV
    205   Thursday        10/8/2020         4:26:00 PM   281‐241‐5375      INCOMING CL                 8   WIFI
    206   Thursday        10/8/2020         6:58:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    207   Thursday        10/8/2020         8:31:00 PM   410‐858‐7435      ANNAPOLIS MD                1   SDDV
    208   Thursday        10/8/2020         8:47:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    209   Friday          10/9/2020        10:55:00 AM   866‐754‐9744      Toll Free CL               27   WIFI
    210   Friday          10/9/2020         2:39:00 PM   301‐470‐7177      BOWE GLNDL MD              16   WIFI
    211   Friday          10/9/2020         5:54:00 PM   410‐858‐7435      INCOMING CL                 2   WIFI
    212   Sunday         10/11/2020         3:54:00 PM   410‐858‐7436      INCOMING CL                 1   SDDV
    213   Monday         10/12/2020         3:49:00 PM   917‐628‐1555      INCOMING CL                 8   WIFI
    214   Monday         10/12/2020         5:25:00 PM   240‐557‐1797      INCOMING CL                 1   SDDV
    215   Monday         10/12/2020         5:26:00 PM   866‐754‐9744      Toll Free CL               18   SDDV
    216   Monday         10/12/2020         7:01:00 PM   410‐858‐7435      ANNAPOLIS MD                1   SDDV
    217   Monday         10/12/2020         7:01:00 PM   410‐858‐7435      ANNAPOLIS MD                1   WIFI
    218   Wednesday      10/14/2020        10:42:00 AM   410‐223‐1925      INCOMING CL                 3   SDDV
    219   Wednesday      10/14/2020         8:43:00 PM   410‐858‐7435      ANNAPOLIS MD                2   SDDV
    220   Wednesday      10/14/2020        10:16:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    221   Thursday       10/15/2020        11:08:00 AM   301‐351‐5396      INCOMING CL                 1   SDDV
    222   Thursday       10/15/2020        11:09:00 AM   301‐351‐5396      INCOMING CL                 7   WIFI
    223   Thursday       10/15/2020         2:03:00 PM   301‐351‐5396      INCOMING CL                 2   WIFI
    224   Thursday       10/15/2020         4:20:00 PM   410‐223‐1930      INCOMING CL                12   SDDV
    225   Thursday       10/15/2020         5:30:00 PM   410‐223‐1925      INCOMING CL                 4   SDDV
    226   Thursday       10/15/2020         5:34:00 PM   410‐223‐1925      INCOMING CL                 2   SDDV
    227   Thursday       10/15/2020         5:35:00 PM   410‐223‐1925      INCOMING CL                11   WIFI
    228   Friday         10/16/2020        10:57:00 AM   866‐754‐9744      Toll Free CL                1   SDDV
    229   Friday         10/16/2020        10:58:00 AM   866‐754‐9744      Toll Free CL               73   SDDV
    230   Friday         10/16/2020         1:02:00 PM   240‐557‐1797      INCOMING CL                 1   SDDV
    231   Friday         10/16/2020         7:04:00 PM   610‐212‐1650      INCOMING CL                 1   SDDV
    232   Saturday       10/17/2020         4:16:00 PM   410‐226‐8233      INCOMING CL                 1   SDDV
    233   Saturday       10/17/2020         6:40:00 PM   410‐244‐1714      BALTIMORE MD                2   SDDV
    234   Monday         10/19/2020        11:59:00 AM   610‐747‐0444      BALACYNWYD PA              11   SDDV
    235   Monday         10/19/2020         1:31:00 PM   718‐404‐5960      INCOMING CL                17   SDDV
    236   Tuesday        10/20/2020        11:01:00 AM   866‐754‐9744      Toll Free CL                1   SDDV
    237   Tuesday        10/20/2020        11:02:00 AM   866‐754‐9744      Toll Free CL              115   SDDV


                                                            Page 7 of 23
                           Case 1:21-cv-00532-SAG Document
                                                       Page77-6
                                                            8   Filed 07/10/21 Page 22 of 37                call log master

Index     Day       Date            Time                 Number Called     Call To             Min        Rate Code
    238   Tuesday        10/20/2020         1:20:00 PM   410‐882‐1579      INCOMING CL                1   SDDV
    239   Tuesday        10/20/2020         2:30:00 PM   816‐800‐1875      INCOMING CL               36   SDDV
    240   Wednesday      10/21/2020        10:31:00 AM   410‐223‐1925      INCOMING CL               60   SDDV
    241   Wednesday      10/21/2020         2:10:00 PM   410‐223‐1925      INCOMING CL               16   SDDV
    242   Wednesday      10/21/2020         4:52:00 PM   726‐245‐6264      INCOMING CL                1   SDDV
    243   Wednesday      10/21/2020         6:20:00 PM   410‐858‐7435      INCOMING CL                1   SDDV
    244   Thursday       10/22/2020         1:00:00 PM   866‐754‐9744      Toll Free CL              46   SDDV
    245   Thursday       10/22/2020         1:46:00 PM   301‐351‐5396      SILVER SPG MD              1   SDDV
    246   Thursday       10/22/2020         1:46:00 PM   301‐351‐5396      INCOMING CL                6   SDDV
    247   Thursday       10/22/2020         3:37:00 PM   301‐351‐5396      INCOMING CL                3   SDDV
    248   Thursday       10/22/2020         4:57:00 PM   866‐754‐9744      Toll Free CL              25   SDDV
    249   Thursday       10/22/2020         6:06:00 PM   816‐800‐1875      INCOMING CL                3   SDDV
    250   Thursday       10/22/2020         7:05:00 PM   301‐351‐5396      INCOMING CL                2   SDDV
    251   Friday         10/23/2020         9:29:00 AM   866‐754‐9744      Toll Free CL              84   SDDV
    252   Friday         10/23/2020        10:55:00 AM   866‐754‐9744      Toll Free CL              30   SDDV
    253   Monday         10/26/2020        10:30:00 PM   443‐586‐5165      DUNDALK MD                 1   WIFI
    254   Monday         10/26/2020        10:31:00 PM   443‐586‐5165      DUNDALK MD                 1   WIFI
    255   Monday         10/26/2020        10:31:00 PM   443‐586‐5165      DUNDALK MD                 1   WIFI
    256   Monday         10/26/2020        10:35:00 PM   443‐586‐5165      DUNDALK MD                 2   WIFI
    257   Monday         10/26/2020        10:40:00 PM   443‐743‐3874      BALTIMORE MD               1   WIFI
    258   Monday         10/26/2020        10:41:00 PM   443‐743‐3874      BALTIMORE MD               1   WIFI
    259   Monday         10/26/2020        10:41:00 PM   443‐586‐5165      DUNDALK MD                 4   WIFI
    260   Tuesday        10/27/2020        10:25:00 AM   866‐754‐9744      Toll Free CL               1   WIFI
    261   Tuesday        10/27/2020        10:26:00 AM   866‐754‐9744      Toll Free CL              29   WIFI
    262   Tuesday        10/27/2020         5:53:00 PM   301‐351‐5396      INCOMING CL                2   WIFI
    263   Wednesday      10/28/2020         1:35:00 AM   410‐858‐7899      INCOMING CL                1   WIFI
    264   Wednesday      10/28/2020         9:42:00 AM   410‐858‐7899      INCOMING CL                1   WIFI
    265   Wednesday      10/28/2020         1:19:00 PM   301‐351‐5396      INCOMING CL                3   SDDV
    266   Wednesday      10/28/2020         3:31:00 PM   410‐223‐1921      INCOMING CL                9   WIFI
    267   Wednesday      10/28/2020         5:56:00 PM   410‐858‐7435      INCOMING CL                2   SDDV
    268   Thursday       10/29/2020         1:16:00 PM   410‐223‐1921      BALTIMORE MD               8   SDDV
    269   Thursday       10/29/2020         1:38:00 PM   866‐754‐9744      Toll Free CL               1   SDDV
    270   Thursday       10/29/2020         1:39:00 PM   866‐754‐9744      Toll Free CL              15   SDDV
    271   Thursday       10/29/2020         1:59:00 PM   866‐754‐9744      Toll Free CL              45   SDDV


                                                            Page 8 of 23
                           Case 1:21-cv-00532-SAG Document
                                                       Page77-6
                                                            9   Filed 07/10/21 Page 23 of 37                call log master

Index     Day       Date            Time                 Number Called     Call To             Min        Rate Code
    272   Thursday       10/29/2020         4:57:00 PM   866‐754‐9744      Toll Free CL              21   SDDV
    273   Thursday       10/29/2020         5:36:00 PM   301‐351‐5396      INCOMING CL                2   SDDV
    274   Thursday       10/29/2020         5:50:00 PM   410‐223‐1921      INCOMING CL                2   SDDV
    275   Thursday       10/29/2020         6:00:00 PM   410‐223‐1921      INCOMING CL                3   SDDV
    276   Thursday       10/29/2020         6:46:00 PM   866‐754‐9744      Toll Free CL              14   SDDV
    277   Thursday       10/29/2020         7:14:00 PM   301‐351‐5396      INCOMING CL               16   SDDV
    278   Thursday       10/29/2020         8:31:00 PM   301‐351‐5396      INCOMING CL               53   SDDV
    279   Friday         10/30/2020        10:56:00 AM   866‐754‐9744      Toll Free CL              14   SDDV
    280   Friday         10/30/2020        12:39:00 PM   866‐754‐9744      Toll Free CL               1   SDDV
    281   Friday         10/30/2020        12:45:00 PM   410‐223‐1921      INCOMING CL               19   SDDV
    282   Friday         10/30/2020         4:33:00 PM   866‐754‐9744      Toll Free CL              12   SDDV
    283   Saturday       10/31/2020        10:28:00 PM   410‐858‐7435      ANNAPOLIS MD               1   SDDV
    284   Tuesday         11/3/2020        12:02:00 PM   512‐463‐6851      AUSTIN TX                 24   SDDV
    285   Tuesday         11/3/2020        12:44:00 PM   512‐427‐9057      INCOMING CL                5   SDDV
    286   Wednesday       11/4/2020        12:57:00 PM   866‐754‐9744      Toll Free CL              58   SDDV
    287   Wednesday       11/4/2020         6:21:00 PM   410‐858‐7435      ANNAPOLIS MD               6   SDDV
    288   Thursday        11/5/2020        10:50:00 AM   866‐754‐9744      Toll Free CL              42   SDDV
    289   Thursday        11/5/2020        11:57:00 AM   866‐754‐9744      Toll Free CL              52   SDDV
    290   Friday          11/6/2020        10:55:00 AM   866‐754‐9744      Toll Free CL              52   SDDV
    291   Saturday        11/7/2020         2:08:00 AM   212‐318‐2000      NEW YORK NY               12   SDDV
    292   Sunday          11/8/2020         7:36:00 PM   410‐858‐7899      ANNAPOLIS MD               1   SDDV
    293   Sunday          11/8/2020        10:03:00 PM   212‐318‐2000      NEW YORK NY                6   SDDV
    294   Monday          11/9/2020        11:22:00 AM   866‐754‐9744      Toll Free CL              40   SDDV
    295   Tuesday        11/10/2020        11:25:00 AM   410‐223‐1944      INCOMING CL                1   SDDV
    296   Tuesday        11/10/2020         2:58:00 PM   866‐754‐9744      Toll Free CL              73   SDDV
    297   Wednesday      11/11/2020        10:43:00 AM   866‐754‐9744      Toll Free CL              15   SDDV
    298   Wednesday      11/11/2020        10:58:00 AM   866‐754‐9744      Toll Free CL              89   SDDV
    299   Wednesday      11/11/2020         2:50:00 PM   410‐223‐1944      INCOMING CL                1   SDDV
    300   Wednesday      11/11/2020         3:49:00 PM   866‐754‐9744      Toll Free CL              50   SDDV
    301   Wednesday      11/11/2020         4:39:00 PM   866‐754‐9744      Toll Free CL              39   SDDV
    302   Wednesday      11/11/2020         8:27:00 PM   301‐351‐5396      INCOMING CL               37   SDDV
    303   Monday         11/16/2020        12:39:00 PM   888‐678‐3688      Toll Free CL              18   SDDV
    304   Monday         11/16/2020        12:57:00 PM   855‐755‐2787      Toll Free CL               8   SDDV
    305   Monday         11/16/2020         2:48:00 PM   410‐223‐1921      INCOMING CL               33   SDDV


                                                            Page 9 of 23
                           Case 1:21-cv-00532-SAG Document
                                                       Page 77-6
                                                            10   Filed 07/10/21 Page 24 of 37                call log master

Index     Day       Date            Time                 Number Called     Call To              Min        Rate Code
    306   Monday         11/16/2020        10:08:00 PM   301‐351‐5396      SILVER SPG MD              23   SDDV
    307   Tuesday        11/17/2020         9:33:00 AM   410‐583‐2723      INCOMING CL                 1   SDDV
    308   Tuesday        11/17/2020        10:47:00 AM   866‐754‐9744      Toll Free CL               35   SDDV
    309   Tuesday        11/17/2020        10:50:00 AM   410‐223‐1916      CALL WAIT                  33   SDDV
    310   Tuesday        11/17/2020        11:56:00 AM   410‐223‐1944      INCOMING CL                 1   SDDV
    311   Tuesday        11/17/2020         9:04:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    312   Wednesday      11/18/2020         9:58:00 AM   917‐628‐1555      INCOMING CL                 4   SDDV
    313   Wednesday      11/18/2020         2:25:00 PM   443‐709‐8149      ARBUTUS MD                  2   SDDV
    314   Wednesday      11/18/2020         7:30:00 PM   301‐351‐5396      SILVER SPG MD               1   SDDV
    315   Wednesday      11/18/2020         7:31:00 PM   301‐351‐5396      SILVER SPG MD              24   WIFI
    316   Thursday       11/19/2020        11:34:00 AM   410‐586‐1081      INCOMING CL                 1   WIFI
    317   Thursday       11/19/2020         4:07:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    318   Tuesday        11/24/2020         3:34:00 PM   410‐323‐9322      INCOMING CL                 1   SDDV
    319   Tuesday        11/24/2020         5:00:00 PM   410‐858‐7899      ANNAPOLIS MD                1   SDDV
    320   Tuesday        11/24/2020         5:13:00 PM   410‐858‐7899      ANNAPOLIS MD                2   SDDV
    321   Tuesday        11/24/2020         5:26:00 PM   410‐858‐7899      INCOMING CL                 1   SDDV
    322   Tuesday        11/24/2020         5:27:00 PM   410‐858‐7899      INCOMING CL                 1   SDDV
    323   Wednesday      11/25/2020         9:42:00 PM   240‐681‐6085      INCOMING CL                 1   SDDV
    324   Friday         11/27/2020         1:01:00 PM   410‐223‐1944      INCOMING CL                 1   SDDV
    325   Tuesday         12/1/2020         1:59:00 PM   855‐435‐1153      Toll Free CL               28   SDDV
    326   Tuesday         12/1/2020         2:31:00 PM   301‐351‐5396      INCOMING CL                 3   SDDV
    327   Tuesday         12/1/2020         4:10:00 PM   410‐709‐4461      INCOMING CL                 1   SDDV
    328   Tuesday         12/1/2020         5:31:00 PM   301‐351‐5396      INCOMING CL                 2   SDDV
    329   Wednesday       12/2/2020         1:49:00 PM   410‐223‐1910      BALTIMORE MD                1   SDDV
    330   Wednesday       12/2/2020         1:50:00 PM   301‐351‐5396      INCOMING CL                 4   SDDV
    331   Wednesday       12/2/2020         1:54:00 PM   410‐223‐1910      BALTIMORE MD                1   SDDV
    332   Wednesday       12/2/2020         1:56:00 PM   301‐351‐5396      SILVER SPG MD              23   SDDV
    333   Thursday        12/3/2020         2:12:00 PM   667‐402‐1310      INCOMING CL                 1   SDDV
    334   Friday          12/4/2020        10:56:00 AM   866‐754‐9744      Toll Free CL               39   SDDV
    335   Friday          12/4/2020         2:47:00 PM   410‐858‐7899      INCOMING CL                 4   SDDV
    336   Friday          12/4/2020         2:53:00 PM   866‐754‐9744      Toll Free CL               59   SDDV
    337   Monday          12/7/2020        10:14:00 AM   410‐223‐1944      INCOMING CL                 1   SDDV
    338   Monday          12/7/2020         1:43:00 PM   443‐928‐0884      INCOMING CL                 5   SDDV
    339   Wednesday       12/9/2020         6:21:00 PM   410‐858‐7435      INCOMING CL                 2   SDDV


                                                           Page 10 of 23
                           Case 1:21-cv-00532-SAG Document
                                                       Page 77-6
                                                            11   Filed 07/10/21 Page 25 of 37                 call log master

Index     Day       Date            Time                 Number Called     Call To              Min         Rate Code
    340   Wednesday       12/9/2020         6:26:00 PM   410‐858‐7435      INCOMING CL                  3   SDDV
    341   Thursday       12/10/2020         2:29:00 PM   866‐754‐9744      Toll Free CL                40   SDDV
    342   Thursday       12/10/2020         7:27:00 PM   410‐858‐7435      ANNAPOLIS MD                 2   SDDV
    343   Friday         12/11/2020        10:57:00 AM   866‐754‐9744      Toll Free CL                19   SDDV
    344   Friday         12/11/2020         4:53:00 PM   410‐223‐1930      BALTIMORE MD                10   SDDV
    345   Saturday       12/12/2020        12:01:00 PM   410‐858‐7435      ANNAPOLIS MD                 1   SDDV
    346   Monday         12/14/2020        10:30:00 AM   610‐747‐0444      BALACYNWYD PA               25   SDDV
    347   Monday         12/14/2020        10:55:00 AM   443‐742‐6968      BALTIMORE MD                 1   SDDV
    348   Monday         12/14/2020        11:03:00 AM   917‐628‐1555      NEW YORK NY                  1   SDDV
    349   Monday         12/14/2020        11:04:00 AM   410‐223‐1921      BALTIMORE MD                 9   SDDV
    350   Monday         12/14/2020         1:34:00 PM   410‐223‐1925      INCOMING CL                 29   SDDV
    351   Tuesday        12/15/2020        12:09:00 PM   410‐223‐1944      INCOMING CL                  1   SDDV
    352   Tuesday        12/15/2020        12:34:00 PM   844‐244‐6843      INCOMING CL                  1   SDDV
    353   Tuesday        12/15/2020         1:27:00 PM   866‐754‐9744      Toll Free CL               129   SDDV
    354   Wednesday      12/16/2020         2:47:00 PM   410‐858‐7899      INCOMING CL                  1   SDDV
    355   Wednesday      12/16/2020         3:29:00 PM   866‐754‐9744      Toll Free CL                28   SDDV
    356   Wednesday      12/16/2020         7:22:00 PM   410‐858‐7435      INCOMING CL                  1   SDDV
    357   Friday         12/18/2020        10:56:00 AM   866‐754‐9744      Toll Free CL                24   SDDV
    358   Friday         12/18/2020         6:15:00 PM   410‐858‐7435      INCOMING CL                  1   SDDV
    359   Friday         12/18/2020         8:36:00 PM   410‐553‐0694      GLENBURNIE MD                5   SDDV
    360   Sunday         12/20/2020         4:12:00 PM   410‐858‐7435      ANNAPOLIS MD                 1   SDDV
    361   Monday         12/21/2020         3:58:00 PM   866‐754‐9744      Toll Free CL                 9   SDDV
    362   Monday         12/21/2020         4:14:00 PM   866‐754‐9744      Toll Free CL                60   SDDV
    363   Monday         12/21/2020         5:43:00 PM   866‐754‐9744      Toll Free CL                72   SDDV
    364   Tuesday        12/22/2020        12:19:00 PM   816‐800‐1875      INCOMING CL                 23   SDDV
    365   Tuesday        12/22/2020         1:35:00 PM   410‐223‐1944      INCOMING CL                  4   SDDV
    366   Tuesday        12/22/2020         6:19:00 PM   800‐724‐2525      Toll Free CL                 2   SDDV
    367   Tuesday        12/22/2020         6:21:00 PM   800‐724‐2440      Toll Free CL                 2   SDDV
    368   Tuesday        12/22/2020         6:23:00 PM   716‐842‐5138      BUFFALO NY                   1   SDDV
    369   Tuesday        12/22/2020         6:24:00 PM   866‐279‐0888      Toll Free CL                 4   SDDV
    370   Tuesday        12/22/2020         6:27:00 PM   800‐724‐2525      Toll Free CL                 5   SDDV
    371   Tuesday        12/22/2020         6:32:00 PM   800‐724‐2525      Toll Free CL                24   SDDV
    372   Tuesday        12/22/2020         9:21:00 PM   800‐790‐9130      Toll Free CL                 1   SDDV
    373   Tuesday        12/22/2020         9:26:00 PM   800‐724‐2440      Toll Free CL                 2   SDDV


                                                           Page 11 of 23
                           Case 1:21-cv-00532-SAG Document
                                                       Page 77-6
                                                            12   Filed 07/10/21 Page 26 of 37                call log master

Index     Day       Date            Time                 Number Called     Call To              Min        Rate Code
    374   Wednesday      12/23/2020        12:57:00 PM   816‐800‐1875      INCOMING CL                 2   SDDV
    375   Wednesday      12/23/2020         2:03:00 PM   301‐351‐5396      INCOMING CL                18   SDDV
    376   Wednesday      12/23/2020         4:12:00 PM   800‐790‐9130      Toll Free CL                7   SDDV
    377   Wednesday      12/23/2020         4:18:00 PM   716‐842‐5138      BUFFALO NY                  1   SDDV
    378   Wednesday      12/23/2020         4:22:00 PM   800‐790‐9130      Toll Free CL               10   SDDV
    379   Thursday       12/24/2020         2:14:00 PM   816‐800‐1875      INCOMING CL                 9   SDDV
    380   Thursday       12/24/2020         2:29:00 PM   816‐800‐1875      INCOMING CL                60   SDDV
    381   Wednesday      12/30/2020        11:07:00 AM   443‐417‐3738      INCOMING CL                 1   SDDV
    382   Thursday       12/31/2020        10:19:00 AM   410‐223‐1944      INCOMING CL                 1   SDDV
    383   Thursday       12/31/2020         1:29:00 PM   716‐842‐5138      BUFFALO NY                  1   SDDV
    384   Thursday       12/31/2020         1:30:00 PM   866‐279‐0888      Toll Free CL                3   SDDV
    385   Thursday       12/31/2020         1:32:00 PM   866‐279‐0888      Toll Free CL                3   SDDV
    386   Thursday       12/31/2020         1:36:00 PM   410‐545‐2155      BALTIMORE MD               13   SDDV
    387   Thursday       12/31/2020         1:59:00 PM   410‐545‐2156      INCOMING CL                17   SDDV
    388   Friday           1/1/2021         7:36:00 PM   410‐858‐7435      ANNAPOLIS MD                1   SDDV
    389   Friday           1/1/2021         8:23:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    390   Monday           1/4/2021         2:12:00 PM   410‐223‐1944      INCOMING CL                 1   SDDV
    391   Monday           1/4/2021         2:29:00 PM   667‐249‐5742      INCOMING CL                 1   SDDV
    392   Tuesday          1/5/2021         9:54:00 AM   866‐754‐9744      Toll Free CL               71   SDDV
    393   Tuesday          1/5/2021         3:59:00 PM   410‐223‐1944      INCOMING CL                 1   WIFI
    394   Tuesday          1/5/2021         5:56:00 PM   855‐414‐6048      Toll Free CL                1   WIFI
    395   Tuesday          1/5/2021         5:57:00 PM   855‐414‐6048      Toll Free CL               43   SDDV
    396   Tuesday          1/5/2021         7:20:00 PM   410‐858‐7435      INCOMING CL                 2   WIFI
    397   Tuesday          1/5/2021         7:21:00 PM   410‐858‐7435      INCOMING CL                 5   SDDV
    398   Tuesday          1/5/2021         7:25:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    399   Tuesday          1/5/2021         7:26:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    400   Tuesday          1/5/2021         7:26:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    401   Tuesday          1/5/2021         7:26:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    402   Tuesday          1/5/2021         7:27:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    403   Tuesday          1/5/2021         7:27:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    404   Tuesday          1/5/2021         7:27:00 PM   410‐858‐7435      INCOMING CL                 1   WIFI
    405   Tuesday          1/5/2021         7:27:00 PM   410‐858‐7435      INCOMING CL                 3   SDDV
    406   Tuesday          1/5/2021        10:43:00 PM   410‐858‐7435      INCOMING CL                 1   SDDV
    407   Wednesday        1/6/2021         9:46:00 AM   816‐800‐1875      INCOMING CL                11   SDDV


                                                           Page 12 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             13   Filed 07/10/21 Page 27 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    408   Wednesday         1/6/2021           1:06:00 PM   410‐223‐1944      INCOMING CL               1   WIFI
    409   Wednesday         1/6/2021           1:31:00 PM   410‐223‐1925      INCOMING CL              65   WIFI
    410   Wednesday         1/6/2021           5:10:00 PM   800‐568‐7625      Toll Free CL              7   WIFI
    411   Wednesday         1/6/2021           6:17:00 PM   410‐858‐7435      ANNAPOLIS MD              2   WIFI
    412   Wednesday         1/6/2021           6:18:00 PM   410‐858‐7435      ANNAPOLIS MD              4   SDDV
    413   Thursday          1/7/2021          10:46:00 AM   410‐223‐1944      INCOMING CL               1   SDDV
    414   Thursday          1/7/2021          11:10:00 AM   816‐800‐1875      INCOMING CL              13   SDDV
    415   Sunday           1/10/2021           7:55:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    416   Monday           1/11/2021          10:48:00 AM   410‐223‐1944      INCOMING CL               1   SDDV
    417   Monday           1/11/2021           2:09:00 PM   251‐726‐2121      INCOMING CL               1   SDDV
    418   Monday           1/11/2021           2:34:00 PM   716‐635‐4517      WILLIAMSVL NY             1   SDDV
    419   Monday           1/11/2021           2:34:00 PM   716‐635‐4517      WILLIAMSVL NY             1   SDDV
    420   Monday           1/11/2021           2:37:00 PM   716‐842‐5385      BUFFALO NY                1   SDDV
    421   Monday           1/11/2021           2:38:00 PM   410‐244‐4097      BALTIMORE MD              1   SDDV
    422   Monday           1/11/2021           2:38:00 PM   201‐368‐4515      HACKENSACK NJ             1   SDDV
    423   Monday           1/11/2021           2:39:00 PM   201‐368‐4515      HACKENSACK NJ             1   SDDV
    424   Monday           1/11/2021           2:39:00 PM   716‐842‐5139      BUFFALO NY                1   SDDV
    425   Monday           1/11/2021           2:40:00 PM   716‐635‐4517      WILLIAMSVL NY             2   SDDV
    426   Monday           1/11/2021           2:46:00 PM   866‐279‐0888      Toll Free CL              2   SDDV
    427   Monday           1/11/2021           2:48:00 PM   800‐724‐2440      Toll Free CL              1   SDDV
    428   Monday           1/11/2021           2:49:00 PM   716‐635‐4000      WILLIAMSVL NY             5   SDDV
    429   Monday           1/11/2021           2:54:00 PM   716‐842‐5390      BUFFALO NY               34   SDDV
    430   Monday           1/11/2021           3:28:00 PM   716‐842‐5390      BUFFALO NY                2   SDDV
    431   Monday           1/11/2021           3:31:00 PM   716‐635‐4517      WILLIAMSVL NY             1   SDDV
    432   Monday           1/11/2021           3:32:00 PM   302‐636‐6770      WILMINGTON DE             1   SDDV
    433   Monday           1/11/2021           3:32:00 PM   716‐842‐5390      BUFFALO NY                2   SDDV
    434   Monday           1/11/2021           3:34:00 PM   410‐280‐6133      ANNAPOLIS MD              2   SDDV
    435   Monday           1/11/2021           3:43:00 PM   855‐432‐8475      Toll Free CL              1   SDDV
    436   Monday           1/11/2021           3:50:00 PM   310‐526‐3406      SNMN SNMN CA              2   SDDV
    437   Monday           1/11/2021           3:57:00 PM   617‐453‐4494      INCOMING CL               1   SDDV
    438   Tuesday          1/12/2021          11:25:00 AM   716‐635‐4517      WILLIAMSVL NY             3   SDDV
    439   Tuesday          1/12/2021          11:27:00 AM   716‐842‐5390      BUFFALO NY               57   SDDV
    440   Tuesday          1/12/2021          12:24:00 PM   716‐842‐5138      BUFFALO NY                1   SDDV
    441   Tuesday          1/12/2021          12:25:00 PM   716‐842‐5138      BUFFALO NY                1   SDDV


                                                              Page 13 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             14   Filed 07/10/21 Page 28 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    442   Tuesday          1/12/2021          12:25:00 PM   716‐842‐5138      BUFFALO NY                1   SDDV
    443   Tuesday          1/12/2021          12:37:00 PM   844‐244‐6843      INCOMING CL               1   SDDV
    444   Tuesday          1/12/2021           1:48:00 PM   816‐800‐1875      INCOMING CL              16   SDDV
    445   Tuesday          1/12/2021           2:19:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    446   Tuesday          1/12/2021           2:56:00 PM   866‐754‐9744      Toll Free CL             92   SDDV
    447   Tuesday          1/12/2021           7:23:00 PM   800‐568‐7625      Toll Free CL              9   SDDV
    448   Wednesday        1/13/2021          12:22:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    449   Wednesday        1/13/2021           5:30:00 PM   866‐754‐9744      Toll Free CL             31   SDDV
    450   Thursday         1/14/2021          10:42:00 AM   410‐223‐1944      INCOMING CL               1   SDDV
    451   Thursday         1/14/2021          12:17:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    452   Thursday         1/14/2021          12:30:00 PM   417‐832‐2589      INCOMING CL               1   SDDV
    453   Thursday         1/14/2021           3:01:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    454   Thursday         1/14/2021           3:01:00 PM   646‐759‐4567      INCOMING CL              18   SDDV
    455   Thursday         1/14/2021           3:44:00 PM   866‐754‐9744      Toll Free CL             51   SDDV
    456   Friday           1/15/2021          10:22:00 AM   410‐223‐1944      INCOMING CL               1   SDDV
    457   Friday           1/15/2021          10:55:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
    458   Friday           1/15/2021          10:55:00 AM   866‐754‐9744      Toll Free CL             88   SDDV
    459   Friday           1/15/2021           2:09:00 PM   800‐724‐8644      Toll Free CL              3   SDDV
    460   Friday           1/15/2021           2:12:00 PM   800‐724‐8644      Toll Free CL             22   SDDV
    461   Wednesday        1/20/2021           2:41:00 PM   866‐754‐9744      Toll Free CL             97   SDDV
    462   Thursday         1/21/2021          11:58:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
    463   Thursday         1/21/2021          11:59:00 AM   866‐754‐9744      Toll Free CL              2   SDDV
    464   Thursday         1/21/2021          12:01:00 PM   866‐754‐9744      Toll Free CL              1   SDDV
    465   Thursday         1/21/2021          12:01:00 PM   866‐754‐9744      Toll Free CL             52   SDDV
    466   Thursday         1/21/2021           1:25:00 PM   866‐754‐9744      Toll Free CL             40   SDDV
    467   Thursday         1/21/2021           5:14:00 PM   866‐754‐9744      Toll Free CL             15   SDDV
    468   Thursday         1/21/2021           5:21:00 PM   301‐351‐5396      SILVER SPG MD             8   SDDV
    469   Thursday         1/21/2021           5:51:00 PM   301‐351‐5396      INCOMING CL               4   SDDV
    470   Thursday         1/21/2021           7:38:00 PM   301‐351‐5396      INCOMING CL               4   SDDV
    471   Friday           1/22/2021          10:54:00 AM   866‐754‐9744      Toll Free CL             59   SDDV
    472   Friday           1/22/2021           1:15:00 PM   866‐754‐9744      Toll Free CL             43   SDDV
    473   Saturday         1/23/2021           8:10:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    474   Saturday         1/23/2021           8:11:00 PM   410‐858‐7899      ANNAPOLIS MD              1   SDDV
    475   Saturday         1/23/2021           8:14:00 PM   410‐858‐7435      INCOMING CL               1   SDDV


                                                              Page 14 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             15   Filed 07/10/21 Page 29 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    476   Sunday           1/24/2021           4:23:00 PM   415‐738‐2935      SNFC CNTRL CA             1   SDDV
    477   Sunday           1/24/2021           4:38:00 PM   415‐738‐2935      SNFC CNTRL CA             3   SDDV
    478   Sunday           1/24/2021           4:44:00 PM   415‐738‐2935      SNFC CNTRL CA             1   SDDV
    479   Sunday           1/24/2021           4:45:00 PM   415‐738‐2935      SNFC CNTRL CA             2   SDDV
    480   Sunday           1/24/2021           4:47:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    481   Sunday           1/24/2021           4:55:00 PM   800‐724‐8644      Toll Free CL              1   SDDV
    482   Sunday           1/24/2021           4:55:00 PM   415‐738‐2935      SNFC CNTRL CA             1   SDDV
    483   Sunday           1/24/2021           4:56:00 PM   415‐738‐2935      SNFC CNTRL CA             1   SDDV
    484   Sunday           1/24/2021           4:56:00 PM   800‐724‐8644      Toll Free CL              1   SDDV
    485   Monday           1/25/2021           1:57:00 PM   866‐754‐9744      Toll Free CL             88   SDDV
    486   Tuesday          1/26/2021           3:17:00 PM   866‐754‐9744      Toll Free CL              1   SDDV
    487   Tuesday          1/26/2021           3:24:00 PM   866‐754‐9744      Toll Free CL             96   SDDV
    488   Wednesday        1/27/2021           1:49:00 PM   410‐858‐7435      ANNAPOLIS MD              2   SDDV
    489   Thursday         1/28/2021          12:12:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    490   Thursday         1/28/2021          12:13:00 PM   410‐858‐7435      ANNAPOLIS MD             14   SDDV
    491   Thursday         1/28/2021          12:54:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    492   Thursday         1/28/2021           1:26:00 PM   866‐754‐9744      Toll Free CL             35   SDDV
    493   Friday           1/29/2021          10:52:00 AM   866‐754‐9744      Toll Free CL             44   SDDV
    494   Friday           1/29/2021           4:20:00 PM   855‐414‐6047      Toll Free CL             24   SDDV
    495   Friday           1/29/2021           4:21:00 PM   415‐738‐2935      SNFC CNTRL CA            23   SDDV
    496   Friday           1/29/2021           4:44:00 PM   800‐724‐8644      Toll Free CL             20   SDDV
    497   Friday           1/29/2021           4:46:00 PM   415‐738‐2935      SNFC CNTRL CA            18   SDDV
    498   Monday            2/1/2021           2:56:00 PM   704‐247‐5914      CHARLOTTE NC             12   SDDV
    499   Tuesday           2/2/2021           9:57:00 AM   866‐754‐9744      Toll Free CL             97   SDDV
    500   Tuesday           2/2/2021          10:47:00 AM   410‐223‐1944      CALL WAIT                 1   SDDV
    501   Wednesday         2/3/2021           2:12:00 PM   410‐858‐7435      INCOMING CL               2   SDDV
    502   Wednesday         2/3/2021           4:23:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    503   Friday            2/5/2021          10:50:00 AM   866‐754‐9744      Toll Free CL              1   SDDV
    504   Friday            2/5/2021          10:50:00 AM   866‐754‐9744      Toll Free CL             43   SDDV
    505   Friday            2/5/2021          12:37:00 PM   410‐858‐7899      ANNAPOLIS MD              1   SDDV
    506   Friday            2/5/2021           1:22:00 PM   410‐858‐7899      ANNAPOLIS MD             19   SDDV
    507   Friday            2/5/2021           2:37:00 PM   716‐635‐4520      WILLIAMSVL NY             3   SDDV
    508   Friday            2/5/2021           2:47:00 PM   855‐411‐2372      Toll Free CL              3   SDDV
    509   Friday            2/5/2021           3:14:00 PM   410‐223‐1944      INCOMING CL               6   SDDV


                                                              Page 15 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             16   Filed 07/10/21 Page 30 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    510   Friday            2/5/2021           4:14:00 PM   410‐222‐6859      SEVERN MD                 2   SDDV
    511   Friday            2/5/2021           4:16:00 PM   410‐539‐3112      BALTIMORE MD              1   SDDV
    512   Friday            2/5/2021           5:31:00 PM   480‐225‐9846      INCOMING CL              23   SDDV
    513   Saturday          2/6/2021           5:16:00 PM   866‐279‐0888      Toll Free CL              3   SDDV
    514   Saturday          2/6/2021           5:18:00 PM   415‐738‐2935      SNFC CNTRL CA             2   SDDV
    515   Saturday          2/6/2021           5:19:00 PM   800‐724‐8644      Toll Free CL              1   SDDV
    516   Saturday          2/6/2021           5:21:00 PM   866‐279‐0888      Toll Free CL              6   SDDV
    517   Saturday          2/6/2021           5:24:00 PM   415‐738‐2935      SNFC CNTRL CA             4   SDDV
    518   Saturday          2/6/2021           5:27:00 PM   800‐724‐2440      Toll Free CL              2   SDDV
    519   Saturday          2/6/2021           5:29:00 PM   800‐724‐2440      Toll Free CL              3   SDDV
    520   Saturday          2/6/2021           5:31:00 PM   866‐279‐0888      Toll Free CL              5   SDDV
    521   Monday            2/8/2021          10:16:00 AM   855‐464‐9707      INCOMING CL              26   SDDV
    522   Monday            2/8/2021          10:48:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    523   Monday            2/8/2021          10:48:00 AM   800‐724‐8644      Toll Free CL             48   SDDV
    524   Monday            2/8/2021          10:49:00 AM   415‐738‐2935      SNFC CNTRL CA            47   SDDV
    525   Monday            2/8/2021          11:36:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    526   Monday            2/8/2021          11:36:00 AM   716‐635‐4517      WILLIAMSVL NY             1   SDDV
    527   Monday            2/8/2021          11:37:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    528   Monday            2/8/2021          11:37:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    529   Monday            2/8/2021          11:37:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    530   Monday            2/8/2021          11:38:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    531   Monday            2/8/2021          11:38:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    532   Monday            2/8/2021          11:38:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    533   Monday            2/8/2021          11:38:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    534   Monday            2/8/2021          11:39:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    535   Monday            2/8/2021          11:39:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    536   Monday            2/8/2021          11:40:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    537   Monday            2/8/2021          11:40:00 AM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    538   Monday            2/8/2021          11:40:00 AM   716‐635‐4520      WILLIAMSVL NY            11   SDDV
    539   Wednesday        2/10/2021          10:27:00 AM   866‐754‐9744      Toll Free CL             49   SDDV
    540   Wednesday        2/10/2021           7:40:00 PM   866‐617‐1894      Toll Free CL              2   SDDV
    541   Wednesday        2/10/2021           7:43:00 PM   855‐414‐6048      Toll Free CL             23   SDDV
    542   Wednesday        2/10/2021           7:59:00 PM   415‐738‐2935      SNFC CNTRL CA             7   SDDV
    543   Thursday         2/11/2021           3:28:00 PM   716‐635‐4520      INCOMING CL               2   SDDV


                                                              Page 16 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             17   Filed 07/10/21 Page 31 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    544   Thursday         2/11/2021           3:56:00 PM   866‐754‐9744      Toll Free CL             31   SDDV
    545   Friday           2/12/2021          10:56:00 AM   866‐754‐9744      Toll Free CL             35   SDDV
    546   Tuesday          2/16/2021           1:10:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    547   Tuesday          2/16/2021           2:55:00 PM   866‐754‐9744      Toll Free CL              1   SDDV
    548   Tuesday          2/16/2021           2:55:00 PM   866‐754‐9744      Toll Free CL             18   SDDV
    549   Wednesday        2/17/2021           6:59:00 PM   301‐351‐5396      SILVER SPG MD            23   SDDV
    550   Thursday         2/18/2021           4:41:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    551   Thursday         2/18/2021           4:49:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    552   Thursday         2/18/2021           4:49:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    553   Thursday         2/18/2021           4:49:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    554   Thursday         2/18/2021           4:50:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    555   Thursday         2/18/2021           4:50:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    556   Thursday         2/18/2021           4:51:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    557   Thursday         2/18/2021           4:51:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    558   Thursday         2/18/2021           4:51:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    559   Thursday         2/18/2021           4:52:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    560   Thursday         2/18/2021           4:52:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    561   Thursday         2/18/2021           4:52:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    562   Thursday         2/18/2021           4:53:00 PM   716‐635‐4520      WILLIAMSVL NY             1   SDDV
    563   Thursday         2/18/2021           4:53:00 PM   716‐635‐4520      WILLIAMSVL NY            18   SDDV
    564   Friday           2/19/2021          10:51:00 AM   866‐754‐9744      Toll Free CL             43   SDDV
    565   Friday           2/19/2021           4:10:00 PM   855‐414‐6047      Toll Free CL             34   SDDV
    566   Friday           2/19/2021           4:12:00 PM   415‐738‐2935      SNFC CNTRL CA            41   SDDV
    567   Friday           2/19/2021           4:26:00 PM   800‐916‐8800      Toll Free CL             96   SDDV
    568   Friday           2/19/2021           5:49:00 PM   415‐738‐2935      SNFC CNTRL CA            13   SDDV
    569   Friday           2/19/2021           6:02:00 PM   415‐738‐2935      SNFC CNTRL CA            29   SDDV
    570   Friday           2/19/2021           6:03:00 PM   866‐349‐5186      Toll Free CL             29   SDDV
    571   Friday           2/19/2021           6:38:00 PM   360‐215‐5000      INCOMING CL               1   SDDV
    572   Sunday           2/21/2021           3:07:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    573   Monday           2/22/2021           1:10:00 PM   302‐658‐5279      WILMINGTON DE             1   SDDV
    574   Monday           2/22/2021           1:35:00 PM   877‐327‐2529      Toll Free CL              7   SDDV
    575   Tuesday          2/23/2021          12:07:00 PM   410‐858‐7435      INCOMING CL               5   SDDV
    576   Tuesday          2/23/2021           1:27:00 PM   866‐279‐0888      Toll Free CL              7   SDDV
    577   Tuesday          2/23/2021           1:33:00 PM   800‐724‐8644      Toll Free CL             13   SDDV


                                                              Page 17 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             18   Filed 07/10/21 Page 32 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    578   Wednesday        2/24/2021           4:26:00 PM   866‐754‐9744      Toll Free CL             13   SDDV
    579   Thursday         2/25/2021           2:00:00 PM   410‐952‐8077      INCOMING CL              32   SDDV
    580   Thursday         2/25/2021           5:01:00 PM   410‐858‐7435      INCOMING CL               2   WIFI
    581   Thursday         2/25/2021           9:14:00 PM   410‐858‐7899      INCOMING CL               4   SDDV
    582   Sunday           2/28/2021           2:53:00 PM   714‐707‐3260      INCOMING CL               1   SDDV
    583   Tuesday           3/2/2021          10:56:00 AM   410‐962‐3625      BALTIMORE MD              4   SDDV
    584   Tuesday           3/2/2021          12:32:00 PM   844‐244‐6843      INCOMING CL               1   SDDV
    585   Tuesday           3/2/2021           2:05:00 PM   410‐962‐3625      BALTIMORE MD              1   WIFI
    586   Tuesday           3/2/2021           2:08:00 PM   410‐962‐2600      BALTIMORE MD              9   WIFI
    587   Tuesday           3/2/2021           2:17:00 PM   410‐962‐0950      BALTIMORE MD             13   WIFI
    588   Tuesday           3/2/2021           2:30:00 PM   866‐754‐9744      Toll Free CL             23   WIFI
    589   Tuesday           3/2/2021           2:57:00 PM   410‐962‐3937      BALTIMORE MD              1   WIFI
    590   Tuesday           3/2/2021           2:58:00 PM   410‐962‐3887      BALTIMORE MD              1   WIFI
    591   Tuesday           3/2/2021           2:58:00 PM   410‐962‐3854      BALTIMORE MD              1   WIFI
    592   Tuesday           3/2/2021           2:59:00 PM   410‐962‐3983      BALTIMORE MD              5   WIFI
    593   Tuesday           3/2/2021           3:26:00 PM   410‐962‐0950      BALTIMORE MD              2   SDDV
    594   Tuesday           3/2/2021           7:50:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
    595   Wednesday         3/3/2021          12:53:00 PM   410‐962‐3937      BALTIMORE MD             17   SDDV
    596   Wednesday         3/3/2021           1:53:00 PM   410‐962‐3625      BALTIMORE MD              2   SDDV
    597   Wednesday         3/3/2021           1:57:00 PM   866‐466‐0979      Toll Free CL              1   SDDV
    598   Wednesday         3/3/2021           2:23:00 PM   410‐962‐3937      BALTIMORE MD              1   SDDV
    599   Wednesday         3/3/2021           2:31:00 PM   443‐463‐9417      BALTIMORE MD              8   SDDV
    600   Wednesday         3/3/2021           2:46:00 PM   410‐962‐7780      BALTIMORE MD              6   SDDV
    601   Wednesday         3/3/2021           6:28:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    602   Wednesday         3/3/2021           7:17:00 PM   410‐865‐0058      INCOMING CL               1   SDDV
    603   Wednesday         3/3/2021           7:27:00 PM   240‐307‐5464      INCOMING CL               1   SDDV
    604   Thursday          3/4/2021          12:08:00 PM   410‐962‐2600      BALTIMORE MD              2   WIFI
    605   Thursday          3/4/2021          12:20:00 PM   443‐201‐1595      INCOMING CL               1   WIFI
    606   Thursday          3/4/2021           2:06:00 PM   410‐962‐2600      BALTIMORE MD              1   WIFI
    607   Thursday          3/4/2021           2:07:00 PM   410‐962‐2600      BALTIMORE MD              7   WIFI
    608   Thursday          3/4/2021           2:20:00 PM   410‐962‐3923      INCOMING CL               2   WIFI
    609   Thursday          3/4/2021           3:00:00 PM   443‐709‐8149      ARBUTUS MD                1   WIFI
    610   Thursday          3/4/2021           5:56:00 PM   866‐724‐8527      INCOMING CL               1   SDDV
    611   Friday            3/5/2021          11:43:00 AM   410‐962‐2600      BALTIMORE MD              5   SDDV


                                                              Page 18 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             19   Filed 07/10/21 Page 33 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    612   Friday            3/5/2021          11:57:00 AM   410‐962‐2600      BALTIMORE MD              1   SDDV
    613   Friday            3/5/2021           2:29:00 PM   866‐754‐9744      Toll Free CL              1   WIFI
    614   Friday            3/5/2021           2:29:00 PM   866‐754‐9744      Toll Free CL             23   WIFI
    615   Friday            3/5/2021           4:20:00 PM   410‐223‐1944      INCOMING CL               1   WIFI
    616   Friday            3/5/2021           6:09:00 PM   410‐858‐7435      INCOMING CL               2   WIFI
    617   Friday            3/5/2021           6:10:00 PM   410‐858‐7435      INCOMING CL              22   SDDV
    618   Monday            3/8/2021           3:12:00 PM   866‐754‐9744      Toll Free CL             63   SDDV
    619   Tuesday           3/9/2021          11:01:00 AM   432‐688‐2700      MIDLAND TX                1   SDDV
    620   Tuesday           3/9/2021          11:01:00 AM   432‐688‐2700      MIDLAND TX                1   SDDV
    621   Tuesday           3/9/2021          11:03:00 AM   432‐688‐2700      MIDLAND TX                5   SDDV
    622   Tuesday           3/9/2021           1:57:00 PM   866‐754‐9744      Toll Free CL             21   SDDV
    623   Wednesday        3/10/2021           1:01:00 PM   866‐754‐9744      Toll Free CL              1   SDDV
    624   Thursday         3/11/2021          10:36:00 AM   312‐542‐6901      CHICAGO IL               21   SDDV
    625   Thursday         3/11/2021           1:08:00 PM   716‐839‐8711      BUFFALO NY                1   SDDV
    626   Thursday         3/11/2021           1:08:00 PM   716‐462‐3656      BUFFALO NY                1   SDDV
    627   Thursday         3/11/2021           1:17:00 PM   716‐462‐3656      INCOMING CL              26   SDDV
    628   Thursday         3/11/2021           3:35:00 PM   716‐462‐3656      INCOMING CL               5   SDDV
    629   Thursday         3/11/2021           3:52:00 PM   866‐754‐9744      Toll Free CL             21   SDDV
    630   Friday           3/12/2021          10:58:00 AM   866‐754‐9744      Toll Free CL             54   SDDV
    631   Friday           3/12/2021           5:44:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    632   Saturday         3/13/2021          11:58:00 AM   443‐709‐8149      ARBUTUS MD                2   WIFI
    633   Saturday         3/13/2021           4:23:00 PM   410‐858‐7899      INCOMING CL               1   WIFI
    634   Saturday         3/13/2021           6:54:00 PM   410‐858‐7899      INCOMING CL               1   SDDV
    635   Monday           3/15/2021           6:55:00 PM   516‐404‐6277      GARDENCITY NY            61   SDDV
    636   Thursday         3/18/2021          11:14:00 AM   410‐834‐8793      INCOMING CL               1   SDDV
    637   Thursday         3/18/2021           3:50:00 PM   410‐858‐7435      ANNAPOLIS MD             10   SDDV
    638   Thursday         3/18/2021           5:17:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    639   Friday           3/19/2021          10:57:00 AM   866‐754‐9744      Toll Free CL             24   SDDV
    640   Friday           3/19/2021           1:47:00 PM   410‐385‐3656      INCOMING CL               4   SDDV
    641   Friday           3/19/2021           3:22:00 PM   410‐962‐2600      BALTIMORE MD              2   SDDV
    642   Friday           3/19/2021           3:28:00 PM   410‐962‐3923      INCOMING CL              10   SDDV
    643   Friday           3/19/2021           4:18:00 PM   410‐783‐1024      BALTIMORE MD              1   SDDV
    644   Friday           3/19/2021           4:21:00 PM   410‐545‐2155      BALTIMORE MD              2   SDDV
    645   Friday           3/19/2021           6:58:00 PM   410‐761‐1700      GLENBURNIE MD             4   SDDV


                                                              Page 19 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             20   Filed 07/10/21 Page 34 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    646   Monday           3/22/2021           1:56:00 PM   866‐754‐9744      Toll Free CL             31   SDDV
    647   Monday           3/22/2021           3:26:00 PM   410‐223‐1944      INCOMING CL               1   SDDV
    648   Monday           3/22/2021           5:10:00 PM   410‐873‐9045      INCOMING CL               1   SDDV
    649   Monday           3/22/2021           5:46:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    650   Monday           3/22/2021           5:49:00 PM   410‐761‐1700      INCOMING CL              12   SDDV
    651   Monday           3/22/2021           7:34:00 PM   800‐724‐8644      Toll Free CL              2   SDDV
    652   Monday           3/22/2021           7:36:00 PM   800‐724‐8644      Toll Free CL              1   SDDV
    654   Tuesday          3/23/2021           9:11:00 AM   415‐738‐2935      SNFC CNTRL CA             6   SDDV
    653   Tuesday          3/23/2021           9:11:00 AM   866‐279‐0888      Toll Free CL              7   SDDV
    655   Tuesday          3/23/2021           9:30:00 AM   415‐738‐2935      SNFC CNTRL CA             2   SDDV
    656   Tuesday          3/23/2021           9:31:00 AM   866‐279‐0888      Toll Free CL              2   SDDV
    658   Tuesday          3/23/2021           9:32:00 AM   415‐738‐2935      SNFC CNTRL CA             5   SDDV
    657   Tuesday          3/23/2021           9:32:00 AM   800‐724‐8644      Toll Free CL              5   SDDV
    659   Tuesday          3/23/2021           9:37:00 AM   800‐724‐8644      Toll Free CL              2   SDDV
    660   Tuesday          3/23/2021           9:38:00 AM   800‐724‐8644      Toll Free CL              1   SDDV
    661   Tuesday          3/23/2021           9:39:00 AM   800‐724‐8644      Toll Free CL              1   SDDV
    662   Tuesday          3/23/2021           9:44:00 AM   800‐724‐8644      Toll Free CL             11   SDDV
    663   Tuesday          3/23/2021           9:55:00 AM   800‐724‐8644      Toll Free CL              1   SDDV
    664   Tuesday          3/23/2021          10:01:00 AM   410‐583‐2723      INCOMING CL               2   SDDV
    665   Tuesday          3/23/2021          12:50:00 PM   410‐858‐7435      INCOMING CL               4   SDDV
    666   Tuesday          3/23/2021           2:27:00 PM   410‐962‐3937      BALTIMORE MD              1   SDDV
    667   Tuesday          3/23/2021           3:54:00 PM   866‐754‐9744      Toll Free CL             38   WIFI
    668   Tuesday          3/23/2021           5:00:00 PM   410‐727‐6464      BALTIMORE MD              1   WIFI
    669   Tuesday          3/23/2021           5:01:00 PM   410‐385‐3656      BALTIMORE MD             14   WIFI
    670   Tuesday          3/23/2021          11:31:00 PM   410‐858‐7435      ANNAPOLIS MD              2   WIFI
    671   Tuesday          3/23/2021          11:32:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    672   Wednesday        3/24/2021           3:58:00 PM   866‐754‐9744      Toll Free CL             34   WIFI
    673   Thursday         3/25/2021           8:41:00 AM   410‐858‐7435      ANNAPOLIS MD              4   SDDV
    674   Thursday         3/25/2021          12:03:00 PM   844‐244‐6843      INCOMING CL               1   SDDV
    675   Thursday         3/25/2021           1:45:00 PM   410‐858‐7435      ANNAPOLIS MD              2   WIFI
    676   Thursday         3/25/2021           1:51:00 PM   410‐858‐7435      INCOMING CL               1   WIFI
    677   Thursday         3/25/2021           3:59:00 PM   301‐545‐1500      ROCKVILLE MD              1   WIFI
    678   Thursday         3/25/2021           4:00:00 PM   202‐224‐4654      WASHINGTON DC            10   WIFI
    679   Thursday         3/25/2021           7:37:00 PM   251‐302‐4214      INCOMING CL               1   WIFI


                                                              Page 20 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             21   Filed 07/10/21 Page 35 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    680   Thursday         3/25/2021           9:07:00 PM   410‐583‐2723      TOWSON MD                 2   WIFI
    681   Friday           3/26/2021           9:55:00 AM   866‐754‐9744      Toll Free CL             20   WIFI
    682   Friday           3/26/2021          10:56:00 AM   866‐754‐9744      Toll Free CL             29   WIFI
    683   Saturday         3/27/2021           8:02:00 PM   650‐489‐9958      INCOMING CL               1   WIFI
    684   Sunday           3/28/2021           1:32:00 PM   410‐858‐7899      INCOMING CL               1   WIFI
    685   Sunday           3/28/2021           2:58:00 PM   443‐709‐8149      ARBUTUS MD                2   WIFI
    686   Monday           3/29/2021           1:26:00 PM   866‐754‐9744      Toll Free CL             27   SDDV
    687   Monday           3/29/2021           2:20:00 PM   866‐754‐9744      Toll Free CL             35   SDDV
    688   Monday           3/29/2021           4:12:00 PM   410‐647‐8771      INCOMING CL               1   SDDV
    689   Monday           3/29/2021           6:16:00 PM   888‐548‐7878      Toll Free CL              3   WIFI
    690   Monday           3/29/2021           6:19:00 PM   866‐349‐5191      Toll Free CL              5   WIFI
    691   Monday           3/29/2021           6:25:00 PM   866‐640‐2273      Toll Free CL              2   WIFI
    693   Monday           3/29/2021           6:42:00 PM   415‐738‐2935      SNFC CNTRL CA            22   WIFI
    692   Monday           3/29/2021           6:42:00 PM   866‐640‐2273      Toll Free CL             22   WIFI
    694   Monday           3/29/2021           7:04:00 PM   312‐985‐2860      CHICAGO IL                1   WIFI
    695   Monday           3/29/2021           7:08:00 PM   833‐806‐1627      Toll Free CL              2   WIFI
    696   Monday           3/29/2021           7:12:00 PM   714‐830‐3351      SANTA ANA CA              1   WIFI
    697   Monday           3/29/2021           7:14:00 PM   208‐400‐2014      INCOMING CL              10   WIFI
    698   Monday           3/29/2021           7:16:00 PM   415‐738‐2935      SNFC CNTRL CA             9   WIFI
    699   Monday           3/29/2021           7:24:00 PM   208‐400‐2014      OROFINO ID                6   WIFI
    700   Monday           3/29/2021           7:33:00 PM   800‐916‐8800      Toll Free CL              3   WIFI
    701   Monday           3/29/2021           7:36:00 PM   800‐730‐0126      Toll Free CL              5   WIFI
    702   Monday           3/29/2021           7:42:00 PM   610‐546‐4762      CHESTER PA                1   WIFI
    703   Monday           3/29/2021           7:44:00 PM   904‐394‐0279      JACKSONVL FL              1   WIFI
    704   Monday           3/29/2021           7:46:00 PM   800‐397‐3742      Toll Free CL              3   WIFI
    705   Monday           3/29/2021           8:01:00 PM   800‐724‐8644      Toll Free CL              2   WIFI
    706   Tuesday          3/30/2021          12:36:00 PM   410‐268‐5800      ANNAPOLIS MD              1   SDDV
    707   Tuesday          3/30/2021          12:56:00 PM   866‐754‐9744      Toll Free CL             36   SDDV
    708   Tuesday          3/30/2021           4:10:00 PM   323‐500‐0477      INCOMING CL               1   SDDV
    709   Tuesday          3/30/2021           6:11:00 PM   410‐975‐9534      INCOMING CL               1   SDDV
    710   Tuesday          3/30/2021           9:17:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    711   Wednesday        3/31/2021           1:47:00 PM   888‐434‐0055      Toll Free CL             28   WIFI
    712   Wednesday        3/31/2021           2:32:00 PM   410‐625‐5862      BALTIMORE MD              3   WIFI
    713   Wednesday        3/31/2021           2:56:00 PM   410‐266‐7170      INCOMING CL               1   WIFI


                                                              Page 21 of 23
                            Case 1:21-cv-00532-SAG Document
                                                        Page 77-6
                                                             22   Filed 07/10/21 Page 36 of 37                call log master

Index     Day       Date               Time                 Number Called     Call To            Min        Rate Code
    714   Wednesday        3/31/2021           3:44:00 PM   877‐329‐2645      INCOMING CL               1   SDDV
    715   Wednesday        3/31/2021           7:23:00 PM   251‐302‐4487      INCOMING CL               1   WIFI
    716   Wednesday        3/31/2021          10:39:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    717   Thursday          4/1/2021           3:20:00 PM   704‐247‐5913      INCOMING CL               7   WIFI
    718   Thursday          4/1/2021           3:56:00 PM   888‐613‐8874      Toll Free CL              3   WIFI
    719   Thursday          4/1/2021           4:10:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
    720   Thursday          4/1/2021           5:25:00 PM   866‐754‐9744      Toll Free CL             47   SDDV
    721   Friday            4/2/2021           5:29:00 PM   877‐724‐4219      INCOMING CL               1   SDDV
    722   Saturday          4/3/2021          12:02:00 PM   844‐244‐6843      INCOMING CL               1   SDDV
    723   Saturday          4/3/2021           1:06:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    724   Saturday          4/3/2021           1:08:00 PM   410‐858‐7899      ANNAPOLIS MD              1   SDDV
    725   Wednesday         4/7/2021          10:41:00 AM   704‐247‐5913      INCOMING CL               1   SDDV
    726   Wednesday         4/7/2021          10:42:00 AM   704‐247‐5913      INCOMING CL               1   WIFI
    727   Wednesday         4/7/2021           2:00:00 PM   410‐962‐3937      BALTIMORE MD              5   WIFI
    728   Wednesday         4/7/2021           2:05:00 PM   410‐962‐4029      BALTIMORE MD              1   WIFI
    729   Wednesday         4/7/2021           2:06:00 PM   410‐962‐2600      BALTIMORE MD              1   WIFI
    730   Wednesday         4/7/2021           2:07:00 PM   410‐962‐2600      BALTIMORE MD              1   WIFI
    731   Wednesday         4/7/2021           2:08:00 PM   410‐962‐4029      BALTIMORE MD              1   WIFI
    732   Wednesday         4/7/2021           2:09:00 PM   410‐962‐6792      BALTIMORE MD              1   WIFI
    733   Wednesday         4/7/2021           2:10:00 PM   410‐962‐3854      BALTIMORE MD              1   WIFI
    734   Wednesday         4/7/2021           2:13:00 PM   410‐962‐2600      BALTIMORE MD              1   WIFI
    735   Wednesday         4/7/2021           3:26:00 PM   866‐754‐9744      Toll Free CL             32   WIFI
    736   Wednesday         4/7/2021           8:27:00 PM   410‐858‐7435      ANNAPOLIS MD              1   SDDV
    737   Thursday          4/8/2021           8:35:00 AM   410‐583‐2723      INCOMING CL               1   SDDV
    738   Thursday          4/8/2021           6:42:00 PM   410‐858‐7435      INCOMING CL               1   WIFI
    739   Thursday          4/8/2021           6:43:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    740   Thursday          4/8/2021           8:46:00 PM   410‐858‐7435      INCOMING CL               1   WIFI
    741   Thursday          4/8/2021           8:47:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    742   Thursday          4/8/2021           9:49:00 PM   410‐858‐7435      INCOMING CL               1   SDDV
    743   Friday            4/9/2021          10:54:00 AM   866‐754‐9744      Toll Free CL             15   SDDV
    744   Friday            4/9/2021          12:20:00 PM   410‐858‐7435      ANNAPOLIS MD              3   WIFI
    745   Friday            4/9/2021          12:23:00 PM   410‐858‐7435      ANNAPOLIS MD              3   SDDV
    746   Friday            4/9/2021           2:21:00 PM   410‐858‐7435      ANNAPOLIS MD              1   WIFI
    747   Friday            4/9/2021           2:22:00 PM   410‐858‐7435      ANNAPOLIS MD              5   SDDV


                                                              Page 22 of 23
                             Case 1:21-cv-00532-SAG Document
                                                         Page 77-6
                                                              23   Filed 07/10/21 Page 37 of 37                call log master

Index     Day        Date               Time                Number Called     Call To             Min        Rate Code
    748   Friday             4/9/2021          3:28:00 PM   800‐343‐3548      Toll Free CL               6   WIFI
    749   Friday             4/9/2021          3:35:00 PM   214‐969‐5530      DALLAS TX                  1   WIFI
    750   Friday             4/9/2021          3:36:00 PM   214‐969‐5530      DALLAS TX                  1   WIFI
    751   Friday             4/9/2021          3:42:00 PM   713‐236‐7400      HOUSTON TX                 1   WIFI
    752   Friday             4/9/2021          3:44:00 PM   713‐236‐7400      HOUSTON TX                 2   WIFI
    753   Friday             4/9/2021          5:55:00 PM   410‐858‐7435      INCOMING CL                2   SDDV
    754   Friday             4/9/2021          6:23:00 PM   443‐386‐2183      BALTIMORE MD               1   SDDV
    755   Friday             4/9/2021          6:24:00 PM   443‐386‐2183      BALTIMORE MD               1   SDDV
    756   Friday             4/9/2021          9:05:00 PM   410‐858‐7435      ANNAPOLIS MD               2   SDDV
    757   Friday             4/9/2021          9:06:00 PM   410‐858‐7435      CALL WAIT                  2   SDDV
    758   Saturday          4/10/2021          8:28:00 PM   410‐858‐7435      ANNAPOLIS MD               1   SDDV
    759   Saturday          4/10/2021          8:29:00 PM   410‐858‐7435      CALL WAIT                  1   SDDV
    760   Saturday          4/10/2021          8:51:00 PM   410‐858‐7435      INCOMING CL                3   SDDV
    761   Monday            4/12/2021          9:54:00 AM   410‐858‐7899      INCOMING CL                1   SDDV
    762   Monday            4/12/2021          3:57:00 PM   866‐754‐9744      Toll Free CL              32   SDDV




                                                              Page 23 of 23
